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                                                                       106        = cMsg;
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                                                                                                 EXHIBIT

                                                                                                    2
                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

REV. PAUL A. EKNES-TUCKER,                        )
      et al.,                                     )
                                                  )
        Plaintiffs,                               )
                                                  )
v.                                                )   No. 2:22-cv-00184-LCB-SRW
                                                  )
KAY IVEY, in her official capacity                )
as Governor of the State of Alabama,              )
     et al.,                                      )
                                                  )
        Defendants.                               )

                              DECLARATION OF DR. JAMES CANTOR

        My name is James Michael Cantor. I am over the age of 19, I am qualified to give this

declaration, and, I have personal knowledge of the matters set forth herein.

     My CV is attached to this declaration. Recent publications are listed on my CV.

     In the past four years, I have provided expert testimony in the following cases:

     2022    Hersom & Doe v WVa Health & Human Services              Southern Dist, West Virginia
     2022    BPJ v WVa Board of Education                            Southern Dist, West Virginia
     2021    Cross et al. v Loudoun School Board                     Loudoun, Virginia
     2021    Allan M. Josephson v Neeli Bendapudi                    Western District of Kentucky
     2021    Re Commitment of Michael Hughes (Frye Hearing)          Cook County, Illinois
     2019    US vs Peter Bright                                      Southern Dist, NY, NY
     2019    Probate and Family Court (Custody Hearing)              Boston, Massachusetts
     2019    Re Commitment of Steven Casper (Frye Hearing)           Kendall County, Illinois
     2019    Re Commitment of Inger (Frye Hearing)                   Poughkeepsie, New York
     2018    Re Commitment of Fernando Little (Frye Hearing)         Utica, New York
     2018    Canada vs John Fitzpatrick (Sentencing Hearing)         Toronto, Ontario, Canada

    I am compensated a the rate of $400 per hour for my work on this matter. My compensation
is not dependent upon the substance of my opinions or the outcome of the case.
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I.        Introduction

          A. Background & Credentials
     1.     I am a clinical psychologist and Director of the Toronto Sexuality Centre in

Canada. For my education and training, I received my Bachelor of Science degree

from Rensselaer Polytechnic Institute, where I studied mathematics, physics, and

computer science. I received my Master of Arts degree in psychology from Boston

University, where I studied neuropsychology. I earned my Doctoral degree in

psychology from McGill University, which included successfully defending my

doctoral     dissertation   studying   the   effects   of   psychiatric   medication   and
neurochemical changes on sexual behavior, and included a clinical internship

assessing and treating people with a wide range of sexual and gender identity issues.

     2.     Over my academic career, my posts have included Psychologist and Senior

Scientist at the Centre for Addiction and Mental Health (CAMH) and Head of

Research for CAMH’s Sexual Behaviour Clinic, Associate Professor of Psychiatry on

the University of Toronto Faculty of Medicine, and Editor-in-Chief of the peer

reviewed journal, Sexual Abuse. That journal is one of the top-impact, peer-reviewed

journals in sexual behavior science and is the official journal of the Association for

the Treatment of Sexual Abusers. In that appointment, I was charged to be the final

arbiter for impartially deciding which contributions from other scientists in my field
merited publication. I believe that appointment indicates not only my extensive

experience evaluating scientific claims and methods, but also the faith put in me by

the other scientists in my field. I have also served on the Editorial Boards of the

Journal of Sex Research, the Archives of Sexual Behavior, and Journal of Sexual

Aggression. Thus, although I cannot speak for other scientists, I regularly interact

with and am routinely exposed to the views and opinions of most of the scientists

active in our field today, within the United States and throughout the world.

     3.     My scientific expertise spans the biological and non-biological development


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of human sexuality, the classification of sexual interest patterns, the assessment and

treatment of atypical sexualities, and the application of statistics and research

methodology in sex research. I am the author of over 50 peer-reviewed articles in my

field,   spanning   the   development    of       sexual   orientation,   gender   identity,

hypersexuality, and atypical sexualities collectively referred to as paraphilias. I am

the author of the past three editions of the gender identity and atypical sexualities

chapter of the Oxford Textbook of Psychopathology. These works are now routinely

cited in the field and are included in numerous other textbooks of sex research.
   4.      I began providing clinical services to people with gender dysphoria in 1998.

I trained under Dr. Ray Blanchard of CAMH and have participated in the assessment

of treatment of over one hundred individuals at various stages of considering and

enacting both transition and detransition, including its legal, social, and medical

(both cross-hormonal and surgical) aspects. My clinical experience includes the

assessment and treatment of several thousand individuals experiencing other

atypical sexuality issues. I am regularly called upon to provide objective assessment

of the science of human sexuality by the courts (prosecution and defense), professional

media, and mental health care providers.

   5.      I have served as an expert witness in 11 cases in the past five years. These

are listed on my curriculum vitae, attached here as Appendix 1.

   6.      A substantial proportion of the existing research on gender dysphoria comes

from two clinics, one in Canada and one in the Netherlands. The CAMH gender clinic

(previously, Clarke Institute of Psychiatry) was in operation for several decades, and

its research was directed by Dr. Kenneth Zucker. I was employed by CAMH between

1998 and 2018. I was a member of the hospital’s adult forensic program. However, I

was in regular contact with members of the CAMH child psychiatry program (of

which Dr. Zucker was a member), and we collaborated on multiple projects.

   7.      For my work in this case, I am being compensated at the hourly rate of $400


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per hour. My compensation does not change based on the conclusions and opinions

that I provide here or later in this case or on the outcome of this lawsuit.

            B. Overview
      8.      The principal opinions that I offer and explain in detail in this report

include that:

              a. A ban on medical transition services for youth under age 18 is consistent

                 with international standards;

              b. The large majority of gender dysphoric, pre-pubescent youth cease to
                 feel gender dysphoric by puberty;

              c. Among youth under age 18, follow-up studies show positive results in

                 association with psychotherapy, not medically aided transition; and

              d. Follow-up studies of medical transition have shown positive results only

                 in samples of adults ages 18 and older.

      9.      To prepare the present report, I reviewed the following resources related to

this litigation:

              a. Text of Alabama Bill SB-184;

              b. Memorandum in support of plaintiffs’ motion for temporary restraining

                 order & preliminary injunction;

              c. Declaration of Linda A. Hawkins, Ph.D., LPC in support of plaintiffs’

                 motion for temporary restraining order & preliminary injunction;

              d. Declaration of Morissa J. Ladinsky, MD, FAAP, in support of plaintiffs’

                 motion for temporary restraining order & preliminary injunction;

              e. Declaration of Stephen Rosenthal, MD, in support of plaintiffs’ motion

                 for temporary restraining order & preliminary injunction.

II.         Fact-Check of Assertions of Plaintiffs’ Experts’ Reports
      10.     I have reviewed the memorandum supporting the plaintiffs’ motion,

including its declarations by Drs. Hawkins, Ladinsky, and Rosenthal, and compared


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its claims with the published, peer-reviewed scientific literature of gender dysphoria,

its treatment and outcomes. The motion and all three experts asserted very many

very bold claims, but vanishingly little citation of any objective science at all. Of the

many hundred relevant, peer-reviewed research articles on this topic, Dr. Hawkins

cited three, Dr. Ladinsky cited none at all, and Dr. Rosenthal cited eight, four of which

were from the same research team, also cited by Dr. Hawkins. As demonstrated in

the following, that small set of articles represents a highly cherry-picked

misrepresentation of the relevant body of science, failing to reflect the consensus of
the research literature. Their declarations not only fail to reflect the consensus of the

science, but also repeatedly assert claims in direct opposition to that science. A

comprehensive summary of the research literature on gender dysphoria is provided

herein.

         A. Professional and International Standards of Care
   11.     The claims expressed in the plaintiffs’ documents largely rely on their

claims of professional standards, citing the American Association of Pediatrics (AAP),

the World Professional Association for Transgender Health (WPATH), and the

Endocrine Society. In so doing, the plaintiffs provided only misleading half-truths,

yielding only an incomplete and inaccurate portrayal of the field. Missing from the

plaintiffs documentation were that these that these standards have repeatedly been

found to be wanting, that their application has failed to produce improvement among

patients, and that it is these U.S.-based associations that are out of line with the

international consensus of health care experts.

   12.     First, the plaintiffs’ documentation misrepresents the contents of the

associations’ policies themselves. With the broad exception of the AAP, their

statements repeatedly noted instead that:

              Desistance of gender dysphoria occurs in the majority of prepubescent
               children.


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               Mental health issues need to be assessed as potentially contributing
                factors and need to be addressed before transition.
               Puberty-blocking medication is an experimental, not a routine,
                treatment.
               Social transition is not generally recommended until after puberty.
Although some other associations have published broad statements of moral support

for sexual minorities and against discrimination, they did not include any specific

standards or guidelines regarding medical- or transition-related care.

    13.     Second, the WPATH and the Endocrine Society guidelines have both been

subjected to standardized evaluation, the Appraisal of Guidelines for Research and
Evaluation (“AGREE II”) method, as part of an appraisal of all published CPGs

regarding sex and gender minority healthcare.1 Utilizing community stakeholders to

set domain priorities for the evaluation, the assessment concluded that the guidelines

regarding HIV and its prevention were of high quality, but that “[t]ransition-related

CPGs tended to lack methodological rigour and rely on patchier, lower-quality

primary research.”2 Neither the Endocrine Society’s or WPATH’s guidelines were

recommended for use. Indeed, the WPATH guidelines received unanimous ratings of

“Do not recommend.”3 Thus, despite the exuberant adjectives offered in the plaintiffs’

experts’ reports, objective analysis yields the opposite conclusion.

    14.     The AAP differed from the other (U.S.-based) associations in outlining far

less conservative clinical decision-making, but only in contradiction with the

published research. Immediately following the publication of the AAP policy, I

conducted a point-by-point fact-check of the claims it asserted and the references it

cited in support. I submitted that to the Journal of Sex & Marital Therapy, a well-

known research journal of my field, where it underwent blind peer review and was

published. I append that article as part of this report. See Appendix 1. A great deal

of published attention ensued; however, the AAP has yet to respond to the errors I

1
    Dahlen, et al., 2021.
2   Dahlen, et al., 2021, at 6.
3   Dahlen, et al., 2021, at 7.


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demonstrated its policy contained. Writing for The Economist about the use of

puberty blockers, Helen Joyce asked AAP directly, “Has the AAP responded to Dr

Cantor? If not, have you any response now?” The AAP Media Relations Manager, Lisa

Black, responded: “We do not have anyone available for comment.”

    15.     Finally, the opinions of these U.S.-based associations are in stark

opposition to international standards: Public healthcare systems throughout the

world have instead been withdrawing their earlier support for childhood transition,

responding to the increasingly recognized risks associated with hormonal
interventions and the now clear lack of evidence that medical transition was

benefitting most children, as opposed to the mental health counseling accompanying

transition. These have included the United Kingdom4, Finland,5 Sweden6, and

France7.

          B. Claims attributed to Olson and Durwood, et al.
    16.     The Hawkins and Rosenthal reports both cited Olson, et al. (2016), claiming

it to demonstrate that transition reduce risk of mental illness. That claim entirely

misrepresents, indeed reverses, the state of the scientific literature. Although Olson,

et al. (2016) did indeed report that gender dysphoric children showed no mental

health differences from the non-transgender control groups, that report turned out to

be incorrect: Not pointed out by Drs Hawkins or Rosenthal is that the Olson data

were subsequently subjected to a re-analysis and that, after correcting for statistical

errors in the original analysis, the data instead showed that the gender dysphoric

children under Olson’s care did, in fact, exhibit significantly lower mental health8.

    17.     I conducted an electronic search of the research literature to identify any



4   U.K. National Institute for Health and Care Excellence, 2020.
5   Council for Choices in Health Care in Finland, 2020.
6   Swedish National Board of Health and Welfare, 2022.
7   Académie Nationale de Médecine, 2022, Feb. 25.
8   Schumm & Crawford, 2020; Schumm, et al., 2019.


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responses from the Olson team regarding the Schumm and Crawford re-analysis of

the Olson data and was not able to locate any. I contacted Professor Schumm by email

on August 22, 2021 to verify that conclusion, to which he wrote there has been: “No

response [from Olson]”9.

     18.    Rosenthal also cited a retrospective study from the Olson team, published

as Durwood et al., 2017. That study surveyed children in the TransYouth Project—

people who have socially transitioned, their families, and any contacts they had, by

word of mouth. This method is referred to as “convenience sampling,” and differs from
genuinely representative samples in applying to means of ensuring study

participants accurately represent the population being studied. There were three

groups of children for comparison: (i) children who had already socially transitioned,

(ii) their siblings, and (iii) children in a university database of families interested in

participating in child development research. As noted by the study authors, “For the

first time, this article reports on socially transitioned gender children’s mental health

as reported by the children.”10 Reports from parents were also recorded.11 In contrast,

no reports or ratings were provided by any mental health care professional or

researcher at all. That is, although adding self-assessments to the professional

assessments might indeed provide novel insights, this project did not add self-

assessment to professional assessment. Rather, it replaced professional assessment

with self-assessment. Moreover, as already noted, Olson’s data did not show what the

Olson team claimed.12 The dataset was subsequently re-analyzed, and “[T]o the

contrary, the transgender children, even when supported by their parents, had

significantly lower average scores on anxiety and self-worth.”13

     19.    It is well established in the field of psychology that participant self-

9    Schumm, email communication, Aug. 22, 2021 (on file with author).
10   Durwood, et al., 2017, at 121 (italics added).
11   See Olson, et al., 2016.
12   Schumm, et al., 2019.
13   Schumm & Crawford, 2020, p. 9


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assessment can be severely unreliable for multiple reasons. For example, one well-

known phenomenon in psychological research is known as “socially desirable

responding”—the tendency of subjects to give answers that they believe will make

themselves look good, rather than accurate answers. Specifically, subjects’ reports

that they are enjoying good mental health and functioning well could reflect the

subjects’ desire to be perceived as healthy and as having made good choices, rather

than reflecting their actual mental health.

     20.     In their analyses, the study reported finding no significant differences
between the transgender children, their non-transgender siblings, or the community

controls. As the authors noted, “[t]hese findings are in striking contrast to previous

work with gender-nonconforming children who had not socially transitioned, which

found very high rates of depression and anxiety.”14 The authors are correct to note

that their result contrasts with the previous research, but they do not discuss that

this could reflect a problem with the novel research design they used: The subjective

self-reports of the children and their parents’ reports may not be reflecting reality

objectively, as careful professional researchers would. Because the study did not

employ any method to detect and control for participants indulging in “socially

desirable responding” or acting under other biasing motivations, this possibility

cannot be assessed or ruled out.

     21.     Because this was a single-time study relying on self-reporting, rather than

a before-and-after transition study relying on professional evaluation, it is not

possible to know if the children reported as well-functioning are in fact well-

functioning, nor if so whether they are well-functioning because they were permitted

to transition, or whether instead the fact is that they were already well-functioning

and therefore permitted to transition. Finally, because the TransYouth project lacks

a prospective design, it cannot be known how many cases attempted transition,

14   Durwood, et al., 2017, at 116.


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reacted poorly, and then detransitioned, thus never having entered into the study in

the first place.

           C. Claims attributed to de Vries, et al.
     22.      Drs. Hawkins and Rosenthal both cited de Vries, et al. (2014) to support

their assertion that medical transition of minors improved their mental health. It is

not possible for one to come to that conclusion from that study, however. The clinic

treating these children (the originators of “The Dutch Protocol”15) provides

psychotherapy together with medical services. In research science, this situation is
called a “confound.” It is not possible to distinguish whether any changes were due to

the medical services, the psychotherapy, or an interaction between them.

Nonetheless, another study, left uncited by the plaintiff’s experts, demonstrated that

improvements in mental health are associated with receiving psychotherapy rather

than medical services. As detailed later in this report, Costa, et al., (2015) conducted

a follow-up study of youth in the U.K., one group receiving only psychotherapy, and

one group first receiving only psychotherapy and then receiving both psychotherapy

and medical services. Both groups improved, and the group receiving medical services

failed to show significant differences from the group who received only psychotherapy

throughout.

           D. Claims attributed to Spack.
     23.      Dr. Rosenthal also misrepresented the views of Dr. Norman Spack. The

article Rosenthal cited—Spack, 2012—repeatedly emphasized that children with

gender dysphoria exhibit very many symptoms of mental illnesses. Spack asserted

unambiguously that “Gender dysphoric children who do not receive counseling have

a high risk of behavioural and emotional problems and psychiatric diagnoses”16. Dr.

Rosenthal’s context misrepresents Spack so as to suggest Spack was advocating for


15   de Vries, et al., 2011.
16   Spack, et al., 2012, at 422, italics added.


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medical transition to treat the gender dysphoria rather than counseling to treat

suicidality and any other mental health issues. Moreover still, missing from the

Rosenthal report was Spack’s conclusion that “[m]ental health intervention should

persist for the long term, even after surgery, as patients continue to be at mental

health risk, including for suicide. While the causes of suicide are multifactorial, the

possibility cannot be ruled out that some patients unrealistically believe that

surgery(ies) solves their psychological distress.”17 Whereas Rosenthal (selectively)

cited Spack to support the insinuation that medical transition relieves distress, Spack
instead explicitly warned against drawing exactly that conclusion.

           E. Other claims
     24.     Rosenthal cited Green, et al., (2021) and Turban, et al. (2021) to assert that

“hormone therapy usage is significantly related to lower rates of depression and

suicidality” [Rosenthal, paragraph 45]. In coming to that conclusion, Dr. Rosenthal

violates a well-known principal of science: Correlation does not imply causation. That

is, this very pattern is what one would predict from clinical gate-keeping: Mental

health constitute exclusion criteria by clinical guidelines. Thus, samples of those

receiving hormone therapy would necessarily have passed that criterion, whereas the

non-medical group would contain those with already identifiable mental health

concerns.

     25.     The plaintiff’s experts indicated medical services to alleviate mental health

distress; however, people with gender dysphoria continue to experience those mental

health symptoms even transition, including a 19 times greater risk of death from

suicide.18 It is this consistent finding in the research literature conclusion that yielded

clinical guidelines repeatedly to indicate that mental health issues should be resolved

before any transition.


17   Spack, 2013, at 484, italics added
18   Dhejne, et al., 2011.


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III.       Science of Gender Dysphoria and Transsexualism
     26.     One    of   the   most   widespread   public   misunderstandings   about

transsexualism and people with gender dysphoria is that all cases of gender

dysphoria represent the same phenomenon; however, the clinical science has long

and consistently demonstrated that gender dysphoric children (cases of early-onset

gender dysphoria) do not represent the same phenomenon as adult gender dysphoria

(cases of late-onset gender dysphoria),19 merely attending clinics at younger ages.

That is, gender dysphoric children are not simply younger versions of gender

dysphoric adults. They differ in every known regard, from sexual interest patterns,
to responses to treatments. A third presentation has recently become increasingly

observed among people presenting to gender clinics: These cases appear to have an

onset in adolescence in the absence of any childhood history of gender dysphoria. Such

cases have been called adolescent-onset or “rapid-onset” gender dysphoria (ROGD).

     27.     In the context of the present proceedings, the adult-onset phenomenon

would not seem relevant; however, very many public misunderstandings and expert

misstatements come from misattributing evidence or personal experience from one of

these types to the other. For example, there exist only very few cases of transition

regret among adult transitioners, whereas the research has unanimously shown that

the majority of children with gender dysphoria desist—that is, they cease to

experience such dysphoria by or during puberty. A brief summary of the adult-onset

phenomenon is therefore included here to facilitate distinguishing features which are

unique to each type of gender dysphoria.

           A. Adult-Onset Gender Dysphoria
     28.     People with adult-onset gender dysphoria typically attend clinics

requesting transition services in mid-adulthood, usually in their 30s or 40s. Such

individuals are nearly exclusively male.20 They typically report being sexually

19   Blanchard, 1985.
20   Blanchard, 1990, 1991.


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attracted to women and sometimes to both men and women. Some cases profess

asexuality, but very few indicate any sexual interest in or behavior involving men.21

Cases of adult-onset gender dysphoria are typically associated with a sexual interest

pattern (medically, a paraphilia) involving themselves in female form.22

            1. Outcome Studies        of   Transition   in   Adult-Onset     Gender
               Dysphoria
     29.    Clinical research facilities studying gender dysphoria have repeatedly

reported low rates of regret (less than 3%) among adult-onset patients who

underwent complete transition (i.e., social, plus hormonal, plus surgical transition).
This has been widely reported by clinics in Canada,23 Sweden,24 and the

Netherlands.25

     30.    Importantly, each of the Canadian, Swedish, and Dutch clinics for adults

with gender dysphoria all performed “gate-keeping” procedures, disqualifying from

medical services people with mental health or other contraindications. One would not

expect the same results to emerge in the absence of such gate-keeping or when gate-

keepers apply only minimal standards or cursory assessment.

            2. Mental Health Issues in Adult-Onset Gender Dysphoria
     31.    The research evidence on mental health issues in gender dysphoria

indicates it to be different between adult-onset versus adolescent-onset versus

prepubescent-onset types. The co-occurrence of mental illness with gender dysphoria

in adults is widely recognized and widely documented.26 A research team in 2016

published a comprehensive and systematic review of all studies examining rates of

mental health issues in transgender adults.27 There were 38 studies in total. The

review indicated that many studies were methodologically weak, but nonetheless

21   Blanchard, 1988.
22   Blanchard 1989a, 1989b, 1991.
23   Blanchard, et al., 1989.
24   Dhejneberg, et al., 2014.
25   Wiepjes, et al., 2018.
26   See, e.g., Hepp, et al., 2005.
27   Dhejne, et al., 2016.


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demonstrated (1) that rates of mental health issues among people are highly elevated

both before and after transition, (2) but that rates were less elevated among those

who completed transition. Analyses were not conducted in a way so as to compare the

elevation in mental health issues observed among people newly attending clinics to

improvement after transition. Also, several studies showed more than 40% of patients

becoming “lost to follow-up.” With attrition rates that high, it is unclear to what

extent the information from the available participants genuinely reflects the whole

sample. The very high rate of “lost to follow-up” leaves open the possibility of
considerably more negative results overall.

   32.    An important caution applies to interpreting these results: These very high

proportions of mental health issues come from people who are attending a clinic for

the first time and are undergoing assessment. Clinics serving a “gate-keeper” role

divert candidates with mental health issues away from medical intervention. The

side-effect of removing these people from the samples of transitioners is that if a

researcher compared the average mental health of individuals coming into the clinic

with the average mental health of individuals going through medical transition, then

the post-transition group would appear to show a substantial improvement, even

though transition had no effect at all: The removal of people with poorer mental

health created the statistical illusion of improvement among the remaining people.

   33.    The long-standing and consistent finding that gender dysphoric adults have

high rates of mental health issues both before and after transition and the finding

that those mental health issues cause the gender dysphoria (the epiphenomenon)

rather than the other way around indicate a critical point: To the extent that gender

dysphoric children resemble adults, we should not expect mental health to improve

as a result of transition. Mental health issues should be resolved before any

transition.




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           B. Childhood Onset (Pre-Puberty) Gender Dysphoria

             1. Prospective Studies of Childhood-Onset Gender Dysphoria
                Show that Most Children Desist in the “Natural Course” by
                Puberty
     34.     The large majority of childhood onset cases of gender dysphoria occur in

biological males, with clinics reporting 2–6 biological male children to each female.28

     35.     Prepubescent children (and their parents) have been approaching mental

health professionals for help with their unhappiness with their sex and belief they

would be happier living as the other for many decades. Projects following-up and

reporting on such cases began being published in the 1970s, with subsequent
generations of research employing increasingly sophisticated methods studying the

outcomes of increasingly large samples. In total, there have now been 11 such

outcomes studies, listed as Appendix 2.

     36.     In sum, despite coming from a variety of countries, conducted by a variety

of labs, using a variety of methods, all spanning four decades, every study without

exception has come to the identical conclusion: Among prepubescent children who feel

gender dysphoric, the majority cease to want to be the other gender over the course

of puberty—ranging from 61–88% desistance across the large, prospective studies.

Such cases are often referred to as “desisters,” whereas children who continue to feel

gender dysphoria are often called “persisters.”

     37.     Notably, in most cases, these children were receiving professional

psychosocial support across the study period aimed not at affirming cross-gender

identification, but at resolving stressors and issues potentially interfering with

desistance. While beneficial to these children and their families, the inclusion of

therapy in the study protocol represents a complication for the interpretation of the

results: That is, it is not possible to know to what extent the observed outcomes

(predominant desistance, with a small but consistent occurrence of persistence) were


28   Cohen-Kettenis, et al., 2003; Steensma, et al., 2018; Wood, et al., 2013.


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influenced by the psychosocial support, or would have emerged regardless. It can be

concluded only that prepubescent children who suffer gender dysphoria and receive

psychosocial support focused on issues other than “affirmation” of cross-gender

identification do in fact desist in suffering from gender dysphoria, at high rates, over

the course of puberty.

   38.    While the absolute number of those who present as prepubescent children

with gender dysphoria and “persist” through adolescence is very small in relation to

the total population, persistence in some subjects was observed in each of these
studies. Thus, the clinician cannot take either outcome for granted.

   39.    It is because of this long-established and invariably consistent research

finding that desistance is probable, but not inevitable, that the “watchful waiting”

method became the standard approach for assisting gender dysphoric children. The

balance of potential risks to potential benefits is very different for groups likely to

desist versus groups unlikely to desist: If a child is very likely to persist, then taking

on the risks of medical transition might be more worthwhile than if that child is very

likely to desist in transgender feelings.

   40.    The consistent observation of high rates of desistance among pre-pubertal

children who present with gender dysphoria demonstrates a pivotally important—

yet often overlooked—feature: because gender dysphoria so often desists on its own,

clinical researchers cannot assume that therapeutic intervention cannot facilitate or

speed desistance for at least some patients. Such is an empirical question, and there

has not yet been any such study.

   41.    It is also important to note that research has not yet identified any reliable

procedure for discerning which children who present with gender dysphoria will

persist, as against the majority who will desist, absent transition and “affirmation.”

Such a method would be valuable, as the more accurately that potential persisters

can be distinguished from desisters, the better the risks and benefits of options can


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be weighted. Such “risk prediction” and behavioral “test construction” are standard

components of applied statistics in the behavioral sciences. Multiple research teams

have reported that, on average, groups of persisters are somewhat more gender non-

conforming than desisters, but not so different as to usefully predict the course of a

particular child.29

     42.    In contrast, a single research team (the aforementioned Olson group)

claimed the opposite, asserting that they developed a method of distinguishing

persisters from desisters, using a single composite score representing a combination
of children’s “peer preference, toy preference, clothing preference, gender similarity,

and gender identity.”30 The reported a statistical association (mathematically

equivalent to a correlation) between that composite score and the probability of

persistence. As they indicated, “Our model predicted that a child with a gender-

nonconformity score of .50 would have roughly a .30 probability . . . of socially

transitioning. By contrast, a child with gender-nonconformity score of .75 would have

roughly a .48 probability.”31 Although the Olson team declared that “social transitions

may be predictable from gender identification and preferences,”32 their actual results

suggest the opposite: The gender-nonconforming group who went on to transition

(socially) had a mean composite score of .73 (which is less than .75), and the gender-

nonconforming group who did not transition had a mean composite score of .61, also

less than .75.33 Both of those are lower than the value of .75, so both of those would

be more likely than not to desist, rather than to proceed to transition. That is, Olson’s

model does not distinguish likely from unlikely to transition; rather, it distinguishes

unlikely from even less likely to transition.

     43.    Although it remains possible for some future finding to yield a method to

29   Singh, et al. (2021); Steensma et al., 2013.
30   Rae, et al., 2019, at 671.
31   Rae, et al., 2019, at 673.
32   Rae, et al., 2019, at 669.
33   Rae, et al., 2019, Supplemental Material at 6, Table S1, bottom line.


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identify with sufficient accuracy which gender dysphoric children will persist, there

does not exist such a method at the present time. Moreover, in the absence of long-

term follow-up, it cannot be known what proportions come to regret having

transitioned and then detransition. Because only a minority of gender dysphoric

children persist in feeling gender dysphoric in the first place, “transition-on-demand”

increases the probably of unnecessary transition and unnecessary medical risks.

          2. “Watchful Waiting” and “The Dutch Approach”
   44.    It was this state of the science—that the majority of prepubescent children
will desist in their feelings of gender dysphoria and that we lack an accurate method

of identifying which children will persist—that led to the development of a clinical

approach, often called “The Dutch Approach” (referring to The Netherlands clinic

where it was developed) including “Watchful Waiting” periods. Internationally, the

Dutch Approach is currently the most widely respected and utilized method for

treatment of children who present with gender dysphoria.

   45.    The purpose of these methods was to compromise the conflicting needs

among: clients’ desires upon assessment, the long-established and repeated

observation that those preferences will change in the majority of (but not all)

childhood cases, and that cosmetic aspects of medical transition are perceived to be

better when they occur earlier rather than later.

   46.    The Dutch Approach (also called the “Dutch Protocol”) was developed over

many years by the Netherlands’ child gender identity clinic, incorporating the

accumulating findings from their own research as well as those reported by other

clinics working with gender dysphoric children. They summarized and explicated the

approach in their peer-reviewed report, Clinical management of gender dysphoria in

children and adolescents: The Dutch Approach (de Vries & Cohen-Kettenis, 2012).

The components of the Dutch Approach are:
             no social transition at all considered before age 12 (watchful waiting


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                period),
               no puberty blockers considered before age 12,
               cross-sex hormones considered only after age 16, and
               resolution of mental health issues before any transition.
     47.    For youth under age 12, “the general recommendation is watchful waiting

and carefully observing how gender dysphoria develops in the first stages of puberty.”34

     48.    The age cut-offs of the Dutch Approach authors were not based on any

research demonstrating their superiority over other potential age cut-off’s. Rather,

they were chosen to correspond to ages of consent to medical procedures under Dutch

law. But whatever their original rationale, the data from this clinic simply contains
no information about safety or efficacy of these measures at younger ages.

     49.    The authors of the Dutch Approach repeatedly and consistently emphasize

the need for extensive mental health assessment, including clinical interviews,

formal psychological testing with validated psychometric instruments, and multiple

sessions with the child and the child’s parents.

     50.    Within the Dutch approach, there is no social transition before age twelve.

That is, social affirmation of the new gender may not begin until age 12—as

desistance is less likely to occur past that age. “Watchful Waiting” refers to a child’s

developmental period up to that age. Watchful waiting does not mean do nothing but

passively observe the child. Such children and families typically present with

substantial distress involving both gender and non-gender issues. It is during the

watchful waiting period that a child (and other family members as appropriate) would

undergo therapy, resolving other issues which may be exacerbating psychological

stress or dysphoria. As noted by the Dutch clinic, “[T]he adolescents in this study

received extensive family or other social support . . . [and they] were all regularly

seen by one of the clinic’s psychologists or psychiatrists.”35 One is actively treating


34   de Vries & Cohen-Kettenis, 2012, at 301.
35   de Vries, et al., 2011, at 2280-81.


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the person, while carefully “watching” the dysphoria.

     51.     The inclusion of psychotherapy and support during the watchful waiting

period is, clinically, a great benefit to the gender dysphoric children and their parents.

The inclusion of psychotherapy and support poses a scientific complication, however:

It becomes difficult to know to what extent the outcomes of these cases might be

related to receiving psychotherapy received versus being “spontaneous” desistance,

which would have occurred on its own anyway. This situation is referred to in science

as a “confound.”

             3. Studies of Transition Outcomes: Overview
     52.     Very many strong claims have appeared in the media and on social media

asserting that transition results in improved mental health or, contradictorily, in

decreased mental health. In the highly politicized context of gender and transgender

research, many authors have cited only the findings which appear to support one side,

cherry-picking from the complete set of research reports. Seemingly contradictory

findings are common in science with on-going research projects. When considered

together, however, the full set of relevant reports show that a coherent pattern and

conclusion has emerged over time, as detailed in the following sections. Initial

optimism was suggested by reports of improvements in mental health.36 Upon

continued analysis, these seeming successes turned out to be illusory, however: The

Bränström and Pachankis (2019) finding has been retracted.37 The greater mental

health among transitioners reported by Costa, et al. (2015) was noted to be because

the control group consisted of cases excluded from hormone eligibility exactly because

they showed poor mental health to begin with.38 The improvements reported by the

de Vries studies from the Dutch Clinic themselves appear genuine; however, because

that clinic also provides psychotherapy to all cases receiving puberty-blockers, it

36   Bränström & Pachankis 2019; Costa, et al., 2015; de Vries, et al., 2011; de Vries, et al., 2014.
37   Kalin, 2020.
38   Biggs, 2019.


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remains entirely plausible that the psychotherapy and not the puberty blockers

caused the improvements.39 New studies continue to appear an accelerating rate,

repeatedly reporting deteriorations or lacks of improvement in mental health40 or

lack of improvement beyond psychotherapy alone,41 and other studies continue to

report on only the combined effect of both psychotherapy and hormone treatment

together.42
                 a. Outcomes of The Dutch Approach (studies from before 2017):
                    Mix of positive, negative, and neutral outcomes
     53.     The research confirms that some, but not all, adolescents improve on some,
but not all, indicators of mental health and that those indicators are inconsistent

across studies. Thus, the balance of potential benefits to potential risks differs across

cases, and thus suggests different courses of treatment across cases.

     54.     The Dutch clinical research team followed up 70 youth undergoing puberty

suppression at their clinic.43 The youth improved on several variables upon follow-up

as compared to pre-suppression measurement, including depressive symptoms and

general functioning. No changes were detected in feelings of anxiety or anger or in

gender dysphoria as a result of puberty suppression; however, natal females using

puberty suppression suffered increased body dissatisfaction both with their

secondary sex characteristics and with nonsexual characteristics.44

     55.     As the report authors noted, while it is possible that the improvement on

some variables was due to the puberty-blockers, it is also possible that the

improvement was due to the mental health support, and it is possible that the

improvement occurred only on its own with natural maturation. So any conclusion

that puberty blockers improved the mental health of the treated children is not


39   Biggs, 2020.
40   Carmichael, et al., 2021; Hisle-Gorman, et al., 2021; Kaltiala, et al., 2020.
41   Achille, et al., 2020.
42   Kuper, et al., 2020; van der Miesen, et al., 2020, at 703.
43   de Vries, et al. 2011.
44   Biggs, 2020.


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justified by the data. Because this study did not include a control group (another

group of adolescents matching the first group, but not receiving medical or social

support), these possibilities cannot be distinguished from each other, representing a

confound. The authors of the study were explicit in noting this themselves: “All these

factors may have contributed to the psychological well-being of these gender

dysphoric adolescents.”45

     56.     The authors were careful not to overstate the implications of their results,

“We cautiously conclude that puberty suppression may be a valuable element in
clinical management of adolescent gender dysphoria.”46

     57.     Costa, et al. (2015) reported on preliminary outcomes from the Tavistock

and Portman NHS Foundation Trust clinic in the UK. They compared the

psychological functioning of one group of youth receiving psychological support with

a second group receiving both psychological support as well as puberty blocking

medication. Both groups improved in psychological functioning over the course of the

study, but no statistically significant differences between the groups was detected at

any point.47 As those authors concluded, “Psychological support and puberty

suppression were both associated with an improved global psychosocial functioning

in GD adolescence. Both these interventions may be considered effective in the

clinical management of psychosocial functioning difficulties in GD adolescence.”48

Because psychological support does not pose the physical health risks that hormonal

interventions or surgery does (such as loss of reproductive function), one cannot

justify taking on the greater risks of social transition, puberty blockers or surgery

without evidence of such treatment producing superior results. Such evidence does

not exist.
                 b. Clinicians and advocates have invoked the Dutch Approach
45   de Vries, et al. 2011, at 2281.
46   de Vries, et al. 2011, at 2282, italics added.
47   Costa, et al., at 2212 Table 2.
48   Costa, et al., at 2206.


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                      while departing from its protocols in important ways.
     58.     The reports of partial success contained in de Vries, et al. 2011 called for

additional research, both to confirm those results and to search for ways to maximize

beneficial results and minimize negative outcomes. Instead, many other clinics and

clinicians proceeded on the basis of the positives only, broadened the range of people

beyond those represented in the research findings, and removed the protections

applied in the procedures that led to those outcomes. Many clinics and individual

clinicians have reduced the minimum age for transition to 10 instead of 12. While the

Dutch Protocol involves interdisciplinary teams of clinicians, many clinics now rely
on a single assessor, in some cases one without adequate professional training in

childhood and adolescent mental health. Comprehensive, longitudinal assessments

(e.g., one and a half years49) became approvals after one or two assessment sessions.

Validated, objective measures of youths’ psychological functioning were replaced with

clinicians’ subjective (and first) opinions, often reflecting only the clients’ own self-

report. Systematic recordings of outcomes, so as to allow for detection and correction

of clinical deficiencies, were eliminated.

     59.     Notably, Dr. Thomas Steensma, central researcher of the Dutch clinic, has

decried other clinics for “blindly adopting our research” despite the indications that

those results may not actually apply: “We don’t know whether studies we have done

in the past are still applicable to today. Many more children are registering, and also

a different type.”50 Steensma opined that “every doctor or psychologist who is involved

in transgender care should feel the obligation to do a good pre- and post-test.” But

few if any are doing so.
                 c. Studies by other clinicians in other countries have failed to
                    reliably replicate the positive components of the results
                    reported by the Dutch clinicians in de Vries et al. 2011.
     60.     The indications of potential benefit from puberty suppression in at least

49   de Vries, et al., 2011.
50   Tetelepta, 2021.


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some cases has led some clinicians to attempt to replicate the positive aspects of those

findings. These efforts have not succeeded.

     61.     The Tavistock and Portman clinic in the U.K. recently released its findings,

attempting to replicate the outcomes reported by the Dutch clinic.51 Study

participants were ages 12–15 (Tanner stages 3 for natal males, Tanner 2 for natal

females) and were repeatedly tested before beginning puberty-blocking medications

and then every six months thereafter. Cases exhibiting serious mental illnesses (e.g.,

psychosis, bipolar disorder, anorexia nervosa, severe body-dysmorphic disorder
unrelated to gender dysphoria) were excluded. Relative to the time point before

beginning puberty suppression, there were no significant changes in any

psychological measure, from either the patients’ or their parents’ perspective.

     62.     A multidisciplinary team from Dallas published a prospective follow-up

study which included 25 youths as they began puberty suppression.52 (The other 123

study participants were undergoing cross-sex hormone treatment.) Interventions were

administered according to “Endocrine Society Clinical Practice Guidelines.”53 Their

analyses found no statistically significant changes in the group undergoing puberty

suppression on any of the nine measures of wellbeing measured, spanning tests of

body satisfaction, depressive symptoms, or anxiety symptoms.54 (Although the authors

reported detecting some improvements, these were only found when the large group

undergoing cross-sex hormone treatment were added in.) Although the Dutch

Approach includes age 12 as a minimum for puberty suppression treatment, this team

provided such treatment beginning at age 9.8 years (full range: 9.8–14.9 years).55

     63.     Achille, et al. (2020) at Stony Brook Children’s Hospital in New York

treated a sample of 95 youth with gender dysphoria, providing follow-up data on 50

51   Carmichael, et al., 2021.
52   Kuper, et al., 2020, at 5.
53   Kuper, et al., 2020, at 3, referring to Hembree, et al., 2017.
54   Kuper, et al., 2020, at Table 2.
55   Kuper, et al., 2020, at 4.


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of them. (The report did not indicate how these 50 were selected from the 95.) As well

as receiving puberty blocking medications, “Most subjects were followed by mental

health professionals. Those that were not were encouraged to see a mental health

professional.”56 The puberty blockers themselves “were introduced in accordance with

the Endocrine Society and the WPATH guidelines.”57 Upon follow-up, some

incremental improvements were noted; however, after statistically adjusting for

psychiatric medication and engagement in counselling, “most predictors did not reach

statistical significance.”58 That is, puberty blockers did not improve mental health
any more than did mental health care on its own.

     64.     In a recent update, the Dutch clinic reported continuing to find

improvement in transgender adolescents’ psychological functioning, reaching age-

typical levels, “after the start of specialized transgender care involving puberty

suppression.”59 Unfortunately, because the transgender care method of that clinic

involves both psychosocial support and puberty suppression, it cannot be known

which of those (or their combination) is driving the improvement. Also, the authors

indicate that the changing demographic and other features among gender dysphoric

youth might have caused the treated group to differ from the control group in

unknown ways. As the study authors themselves noted, “The present study can,

therefore, not provide evidence about the direct benefits of puberty suppression over

time and long-term mental health outcomes.”60

     65.     It has not yet been determined why the successful outcomes reported by the

Dutch child gender clinic a decade ago failed to emerge when applied by others more

recently. It is possible that:
             (1) The Dutch Approach itself does not work and that their originally
                 successful results were a fluke;
56   Achille, et al., 2020, at 2.
57   Achille, et al., 2020, at 2.
58   Achille, et al., 2020, at 3 (italics added).
59   van der Miesen, et al., 2020, at 699.
60   van der Miesen, et al., 2020, at 703.


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            (2) The Dutch Approach does work, but only in the Netherlands, with local
                cultural, genetic, or other unrecognized factors that do not generalize to
                other countries;
            (3) The Dutch Approach itself does work, but other clinics and individual
                clinicians are removing safeguards and adding short-cuts to the
                approach, and those changes are hampering success.
            (4) The Dutch Approach does work, but the cause of the improvement is the
                psychosocial support, rather than any medical intervention, which other
                clinics are not providing.
   66.      The failure of other clinics to repeat the already very qualified success of

the Dutch clinic demonstrates the need for still greater caution before endorsing

transition and the greater need to resolve potential mental health obstacles before
doing so.

            4. Mental Health Issues in Childhood-Onset Gender Dysphoria
   67.      As shown by the outcomes studies, there is no statistically significant

evidence that transition reduces the presence of mental illness among transitioners.

As shown repeatedly by clinical guidelines from multiple professional associations,

mental health issues are expected or required to be resolved before undergoing

transition. The reasoning behind these conclusions is that children may be expressing

gender dysphoria, not because they are experiencing what gender dysphoric adults

report, but because they mistake what their experiences indicate or to what they

might lead. For example, a child experiencing depression from social isolation might

develop hope—and the unrealistic expectation—that transition will help them fit in,

this time as and with the other sex.

   68.      If a child undergoes transition, discovering only then that their mental

health or social situations will not in fact change, the medical risks and side-effects

(such as sterilization) will have been borne for no reason. If, however, a child resolves

the mental health issues first with the gender dysphoria resolving with it (which the

research literature shows to be the case in the large majority), then the child need

not undergo transition at all, but yet still retains the opportunity to do so later.

   69.      Elevated rates of multiple mental health issues among gender dysphoric


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children are reported throughout the research literature. A formal analysis of

children (ages 4–11) undergoing assessment at the Dutch child gender clinic showed

52% fulfilled criteria for a DSM axis-I disorder.61 A comparison of the children

attending the Canadian versus Dutch child gender dysphoria clinic showed only few

differences between them, but a large proportion in both groups were diagnosable

with clinically significant mental health issues. Results of standard assessment

instruments (Child Behavior Check List, or CBCL) demonstrated that the average

score was in the clinical rather than healthy range, among children in both clinics.62
When expressed as percentages, among 6–11-year-olds, 61.7% of the Canadian and

62.1% of the Dutch sample were in the clinical range.

     70.     A systematic, comprehensive review of all studies of Autism Spectrum

Disorders (ASDs) and Attention-Deficit Hyperactivity Disorder (ADHD) among

children diagnosed with gender dysphoria was recently conducted. It was able to

identify a total of 22 studies examining the prevalence of ASD or ADHD I youth with

gender dysphoria. Studies reviewing medical records of children and adolescents

referred to gender clinics showed 5–26% to have been diagnosed with ASD.63

Moreover, those authors gave specific caution on the “considerable overlap between

symptoms of ASD and symptoms of gender variance, exemplified by the subthreshold

group which may display symptoms which could be interpreted as either ASD or

gender variance. Overlap between symptoms of ASD and symptoms of GD may well

confound results.”64 When two or more issues are present at the same time (in this

case, gender dysphoria present at the same time as ADHD or ASD), researchers

cannot distinguish when a result is associated with or caused by the issue of interest

(gender dysphoria itself) or one of the side issues, called confounds (ADHD or ASD,


61   Wallien, et al., 2007.
62   Cohen-Kettenis, et al., 2003, at 46.
63   Thrower, et al., 2020.
64   Thrower, et al., 2020, at 703.


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in the present case).65 The rate of ADHD among children with GD was 8.3–11%.

Conversely, in data from children (ages 6–18) with Autism Spectrum Disorders

(ASDs) show they are more than seven times more likely to have parent-reported

“gender variance.”66

           C. Adolescent-Onset Gender Dysphoria

             1. Features of Adolescent-Onset Gender Dysphoria
     71.     In the social media age, a third profile has recently begun to present to

clinicians or socially, characteristically distinct from the previously identified ones.67
Unlike adult-onset gender dysphoria and unlike childhood-onset, this group is

predominately biologically female. This group first presents in adolescence, but lacks

the history of cross-gender behavior in childhood like the childhood-onset cases have.

It is this feature which led to the term Rapid Onset Gender Dysphoria (ROGD).68 The

majority of cases appear to occur within clusters of peers and in association with

increased social media use69 and especially among people with autism or other

neurodevelopmental or mental health issues.70

     72.     It cannot be easily determined whether the self-reported gender dysphoria

is a result of other underlying issues or if those mental health issues are the result of

the stresses of being a sexual minority, as some writers are quick to assume.71 (The

science of the Minority Stress Hypothesis appears in its own section.) Importantly,

and unlike other presentations of gender dysphoria, people with rapid-onset gender

dysphoria often (47.2%) experienced declines rather than improvements in mental

health when they publicly acknowledged their gender status.72 Although long-term

outcomes have not yet been reported, these distinctions demonstrate that one cannot

65   Cohen-Kettenis et al., 2003, at 51; Skelly et al., 2012.
66   Janssen, et al., 2016.
67   Kaltiala-Heino, et al., 2015; Littman, 2018.
68   Littman, 2018.
69   Littman, 2018.
70   Kaltiala-Heino, et al., 2015; Littman, 2018; Warrier, et al., 2020.
71   Boivin, et al., 2020.
72   Biggs, 2020; Littman, 2018.


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apply findings from the other types of gender dysphoria to this type. That is, in the

absence of evidence, researchers cannot assume that the pattern found in childhood-

onset or adult-onset gender dysphoria also applies to rapid-onset (aka adolescent-

onset) gender dysphoria. The group differences already observed argue against the

conclusion that any given feature would be present, in general, throughout all types

of gender dysphoria.

          2. Prospective Studies of Social Transition and Puberty Blockers
             in Adolescence
   73.    There do not yet exist prospective outcomes studies either for social
transition or for medical interventions for people whose gender dysphoria began in

adolescence. That is, instead of taking a sample of individuals and following them

forward over time (thus permitting researchers to account for people dropping out of

the study, people misremembering the order of events, etc.), all studies have thus far

been retrospective. It is not possible for such studies to identify what factors caused

what outcomes. No study has yet been organized in such a way as to allow for an

analysis of the adolescent-onset group, as distinct from childhood-onset or adult-onset

cases. Many of the newer clinics (not the original clinics which systematically tracked

and reported on their cases’ results) fail to distinguish between people who had

childhood-onset gender dysphoria and have aged into adolescence and people whose

onset was not until adolescence. Similarly, there are clinics failing to distinguish

people who had adolescent-onset gender dysphoria and aged into adulthood from

adult-onset gender dysphoria. Studies selecting groups according to their current age

instead of their ages of onset can produce only confounded results, representing

unclear mixes according to how many of each type of case wound up in the final

sample.

          3. Mental Illness in Adolescent-Onset Gender Dysphoria
   74.    In 2019, a Special Section of the Archives of Sexual Behavior was published:



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“Clinical Approaches to Adolescents with Gender Dysphoria.” It included this brief

yet thorough summary of rates of mental health issues among adolescents expressing

gender dysphoria by Dr. Aron Janssen of the Department of Child and Adolescent

Psychiatry of New York University:73 The literature varies in the range of

percentages of adolescents with co-occurring disorders. The range for depressive

symptoms ranges was 6–42%,74 with suicide attempts ranging 10 to 45%.75 Self-

injurious thoughts and behaviors range 14–39%.76 Anxiety disorders and disruptive

behavior difficulties including Attention Deficit/Hyperactivity Disorder are also
prevalent.77 Gender dysphoria also overlaps with Autism Spectrum Disorder.78

     75.    Of particular concern in the context of adolescent onset gender dysphoria is

Borderline Personality Disorder (BPD). The DSM-5-TR criteria for BPD are79:
            A pervasive pattern of instability of interpersonal relationships, self-
            image, and affects, and marked impulsivity beginning by early
            adulthood and present in a variety of contexts, as indicated by five (or
            more) of the following:
            1. Frantic efforts to avoid real or imagined abandonment. (Note: Do not
               include suicidal or self-mutilating behaviour covered in Criterion 5.)
            2. A pattern of unstable and intense interpersonal relationship
               characterized by alternating between extremes of idealization and
               devaluation.
            3. Identity disturbance: markedly and persistently unstable self-image
               or sense of self.
            4. Impulsivity in at least two areas that are potentially self-damaging
               (e.g., spending, sex, substance abuse, reckless driving, binge eating).
               (Note: Do not include suicidal or self-mutilating behavior covered in
               Criterion 5.)
            5. Recurrent suicidal behaviour, gestures, or threats, or self-mutilating
               behavior.
            6. Affective instability due to a marked reactivity of mood (e.g., intense
               episodic dysphoria, irritability, or anxiety usually lasting a few hours
               and only rarely more than a few days).

73 Janssen, et al., 2019.
74 Holt, et al., 2016; Skagerberg, et al., 2013; Wallien, et al., 2007.
75 Reisner, et al., 2015.
76 Holt, et al., 2016; Skagerberg, et al., 2013.
77 de Vries, et al., 2011; Mustanski, et al., 2010; Wallien, et al., 2007.
78 de Vries, et al., 2010; Jacobs, et al., 2014; Janssen, et al., 2016; May, et al., 2016; Strang, et al.,
2014, 2016.
79 American Psychiatric Association, 2022, pp. 752–753, italics added.


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             7. Chronic feelings of emptiness.
             8. Inappropriate, intense anger or difficulty controlling anger (e.g.,
                frequent displays of temper, constant anger, recurrent physical
                fights).
             9. Transient, stress-related paranoid ideation or severe dissociative
                symptoms.
(Italics added.)

     76.     It is increasingly hypothesized that very many cases appearing to be

adolescent-onset gender dysphoria are actually cases of BPD.80 That is, some people

may be misinterpreting their experiences to represent a gender identity issue, when

it instead represents the “identity disturbance” noted in symptom Criterion 3. Like
adolescent-onset gender dysphoria, BPD begins to manifest in adolescence, is

substantially more common among biological females than males, and occurs in 2–

3% of the population, rather than 1-in-5,000 people (i.e., 0.02%). Thus, if even only a

portion of people with BPD had an ‘identity disturbance’ that focused on gender

identity and were mistaken for transgender, they could easily overwhelm the number

of genuine cases of gender dysphoria.

     77.     A primary cause for concern is symptom Criterion 5: recurrent suicidality.

Regarding the provision of mental health care, this is a crucial distinction: A person

with BPD going undiagnosed will not receive the appropriate treatments (the

currently most effective of which is Dialectical Behavior Therapy). A person with a

cross-gender identity would be expected to feel relief from medical transition, but

someone with BPD would not: The problem was not about gender identity, but about

having an unstable identity. Moreover, after a failure of medical transition to provide

relief, one would predict for these people increased levels of hopelessness and

increased risk of suicidality. One would predict also that misdiagnoses would occur

more often if one reflexively dismissed or discounted symptoms of BPD as responses

to “minority stress.” The Minority Stress Hypothesis is discussed in its own section


80   E.g., Anzani, et al., 2020; Zucker, 2019.


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herein.

      78.     Regarding research, there have now been several attempts to document

rates of suicidality among gender dysphoric adolescents (reviewed in its own section

herein). The scientific concern presented by BPD is that it poses a potential confound:

samples of gender dysphoric adolescents could appear to have elevated rates of

suicidality, not because of the gender dysphoria (or transphobia in society), but

because of the number of people with BPD in the sample.

IV.         Other Scientific Claims Assessed

            A. Conversion Therapy
      79.     Activists and social media increasingly, but erroneously, apply the term

“conversion therapy” moving farther and farther from what the research has

reported. “Conversion therapy” (or “reparative therapy” and other names) was the

attempt to change a person’s sexual orientation; however, with the public more

frequently accustomed to “LGB” being expanded to “LGBTQ+”, the claims relevant

only to sexual orientation are being misapplied to gender identity. The research has

repeatedly demonstrated that once one explicitly acknowledges being gay or lesbian,

this is only very rarely are mistaken. That is entirely unlike gender identity, wherein

the great majority of children who declare cross-gender identity cease to do so by

puberty, as shown unanimously by every follow-up study ever published. As the field

grows increasingly polarized, any therapy failing to provide affirmation-on-demand

is mislabeled “conversion therapy.”81 Indeed, even actions of non-therapists,

unrelated to any therapy have been labelled conversion therapy, including the

prohibition of biological males competing on female teams.82

            B. Assessing Claims of Suicidality
      80.     In the absence of scientific evidence associating improvement with


81    D’Angelo, et al., 2021.
82    Turban, 2021, March 16.


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transition among youth, demands for transition are increasingly accompanied by

hyperbolic warnings of suicide should there be delay or obstacle to affirmation-on-

demand. Social media circulate claims of extreme suicidality accompanied by

declarations that “I’d rather have a trans daughter than a dead son.” Such claims

convey only grossly misleading misrepresentations of the research literature,

however.

     81.    Despite that the media treat them as near synonyms, suicide and

suicidality are distinct phenomena. They represent different behaviors with different
motivations, with different mental health issues, and with differing clinical needs.

Suicide refers to completed suicides and the sincere intent to die. It is substantially

associated with impulsivity, using more lethal means, and being a biological male.83

Suicidality refers to parasuicidal behaviors, including suicidal ideation, threats, and

gestures. These typically represent cries for help rather than an intent to die and are

more common among biological females. Suicidal threats can indicate any of many

problems or represent emotional blackmail, as typified in “If you leave me, I will kill

myself.” Professing suicidality is also used for attention- seeking or for the support or

sympathy it evokes from others, indicating distress much more frequently than an

intent to die.

     82.    The scientific study of suicide is inextricably linked to that of mental illness.

For example, as noted in the preceding, suicidality is a well-documented symptom of

Borderline Personality Disorder (as are chronic identity issues), and personality

disorders are highly elevated among transgender populations, especially adolescent-

onset. Thus, the elevations of suicidality among gender dysphoric adolescents may

not be a result of anything related to transition (or lack of transition), but to the

overlap with mental illness of which suicidality is a substantial part. Conversely,



83   Freeman, et al., 2017.


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improvements in suicidality reported in some studies may not be the result of

anything related to transition, but rather to the concurrent general mental health

support which is reported by the clinical reported prospective outcomes. Studies that

include more than one factor at the same time without accounting for each other

represent a “confound,” and it cannot be known which factor (or both) is the one

causing the effects observed. That is, when a study provides both mental health

services and medical transition services at the same time, it cannot be known which

(or both) is what caused any changes.
     83.     A primary criterion for readiness for transition used by the clinics

demonstrating successful transition is the absence or resolution of other mental

health concerns, such as suicidality. In the popular media, however, indications of

mental health concerns are instead often dismissed as an expectable result caused by

Sexual Minority Stress (SMS). It is generally implied that such symptoms will resolve

upon transition and integration into an affirming environment.

     84.     Despite that mental health issues, including suicidality, are repeatedly

required by clinical standards of care to be resolved before transition, threats of

suicide are instead oftentimes used as the very justification for labelling transition a

‘medical necessity’. However plausible it might seem that failing to affirm transition

causes suicidality, the epidemiological evidence indicates that hypothesis to be

incorrect: Suicide rates remains elevated even after complete transition, as shown by

a comprehensive review of 17 studies of suicidality in gender dysphoria.84

     85.     Of particular relevance in the present context is suicidality as a well-

documented symptom of Borderline Personality Disorder (BPD) and that very many

cases appearing to be adolescent-onset gender dysphoria actually represent cases of

BPD. [See full DSM-5-TR criteria already listed herein.] That is, some people may be



84   McNeil, et al., 2017.


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misinterpreting their experiencing of the broader “identity disturbance” of symptom

Criterion 3 to represent a gender identity issue specifically. Like adolescent-onset

gender dysphoria, BPD begins to manifest in adolescence and occurs in 2–3% of the

population, rather than 1-in-5,000 people. (Thus, if even only a portion of people with

BPD experienced an identity disturbance that focused on gender identity and were

mistaken for transgender, they could easily overwhelm the number of genuine cases

of gender dysphoria.)

     86.     Rates     of    completed       suicide      are   elevated      among   post-transition
transsexuals, but are nonetheless rare,85 and BPD is repeatedly documented to be

greatly elevated among sexual minorities86. Overall, rates of suicidal ideation and

suicidal attempts appear to be related—not to transition status—but to the social

support received: The research evidence shows that support decreases suicidality, but

that transition itself does not. Indeed, in some situations, social support was

associated with increased suicide attempts, suggesting the reported suicidality may

represent attempts to evoke more support.87

           C. Assessing Demands for Social Transition and Affirmation-Only
           or Affirmation-on-Demand Treatment in Pre-Pubertal Children.
     87.     Colloquially, affirmation refers broadly to any actions that treat the person

as belonging to a new gender. In different contexts, that could apply to social actions

(use of a new name and pronouns), legal actions (changes to birth certificates), or

medical actions (hormonal and surgical interventions). That is, social transition, legal

transition, and medical transition (and subparts thereof) need not, and rarely do,

occur at the same time. In practice, there are cases in which a child has socially only

partially transitioned, such as presenting as one gender at home and another at

school or presenting as one gender with one custodial parent and another gender with


85   Wiepjes, et al., 2020.
86   Reuter, et al., 2016; Rodriguez-Seiljas, et al., 2021; Zanarni, et al., 2021.
87   Bauer, et al., 2015; Canetto, et al., 2021.


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the other parent.

   88.    Referring to “affirmation” as a treatment approach is ambiguous: Although

often used in public discourse to take advantage of the positive connotations of the

term, it obfuscates what exactly is being affirmed. This often leads to confusion, such

as quoting a study of the benefits and risks of social affirmation in a discussion of

medical affirmation, where the appearance of the isolated word “affirmation” refers

to entirely different actions.

   89.    It is also an error to divide treatment approaches into affirmative versus
non-affirmative. As noted already, the widely adopted Dutch Approach (and the

guidelines of the multiple professional associations based on it) cannot be said to be

either: It is a staged set of interventions, wherein social transition (and puberty

blocking) may not begin until age 12 and cross-sex hormonal and other medical

interventions, later.

   90.    Formal clinical approaches to helping children expressing gender dysphoria

employ a gate-keeper model, with decision trees to help clinicians decide when and if

the potential benefits of affirmation of the new gender would outweigh the potential

risks of doing so. Because the gate-keepers and decision-trees generally include the

possibility of affirmation in at least some cases, it is misleading to refer to any one

approach as “the affirmation approach.” The most extreme decision-tree would be

accurately called affirmation-on-demand, involving little or no opportunity for

children to explore at all whether the distress they feel is due to some other, less

obvious, factor, whereas more moderate gate-keeping would endorse transition only

in select situations, when the likelihood of regretting transition is minimized.

   91.    Many outcomes studies have been published examining the results of gate-

keeper models, but no such studies have been published regarding affirmation-on-

demand with children. Although there have been claims that affirmation-on-demand

causes mental health or other improvement, these have been the result only of


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“retrospective” rather than “prospective” studies. That is, such studies did not take a

sample of children and follow them up over time, to see how many dropped out

altogether, how many transitioned successfully, and how many transitioned and

regretted it or detransitioned. Rather, such studies took a sample of successfully

transitioned adults and asked them retrospective questions about their past. In such

studies, it is not possible to know how many other people dropped out or regretted

transition, and it is not possible to infer causality from any of the correlations

detected, despite authors implying and inferring causality.

           D. Assessing the “Minority Stress Hypothesis”
     92.     The elevated levels of mental health problems among lesbian, gay, and

bisexual populations is a well-documented phenomenon, and the idea that it is caused

by living within a socially hostile environment is called the Minority Stress

Hypothesis.88 The association is not entirely straight-forward, however. For example,

although lesbian, gay, and bisexual populations are more vulnerable to suicide

ideation overall, the evidence specifically on adult lesbian and bisexual women is

unclear. Meyer did not include transgender populations in originating the hypothesis,

and it remains a legitimate question to what extent and in what ways it might apply

to gender identity.

     93.     Minority stress is associated, in large part, with being a visible minority.

There is little evidence that transgender populations show the patterns suggested by

the hypothesis. For example, the minority stress hypothesis would predict differences

according to how visibly a person is discernable as a member of the minority, which

often changes greatly upon transition. Biological males who are very effeminate stand

out throughout childhood, but in some cases can successfully blend in as adult

females; whereas the adult-onset transitioners blend in very much as heterosexual

cis-gendered males during their youth and begin visibly to stand out in adulthood,

88   Meyer, 2003.


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only for the first time.

     94.     Also suggesting minority stress cannot be the full story is that the mental

health symptoms associated with minority stress do not entirely correspond with

those associated with gender dysphoria. The primary symptoms associated with

minority stress are depressive symptoms, substance use, and suicidal ideation.89 The

symptoms associated with gender dysphoria indeed include depressive symptoms and

suicidal ideation, but also include anxiety symptoms, Autism Spectrum Disorders,

and personality disorders.

V.         Assessing Statements from Professional Associations

           A. Understanding the Value of Statements from Professional
           Associations
     95.     The value of position statements from professional associations should be

neither over- nor under-estimated. In the ideal, an organization of licensed health

care professionals would convene a panel of experts who would systematically collect

all the available evidence about an issue, synthesizing it into recommendations or

enforceable standards for clinical care, according to the quality of the evidence for

each alternative. For politically neutral issues, with relevant expertise contained

among association members, this ideal can be readily achievable. For controversial

issues with no clear consensus, the optimal statement would summarize each

perspective and explicate the strengths and weaknesses of each, providing relatively

reserved recommendations and suggestions for future research that might resolve the

continuing questions. Several obstacles can hinder that goal, however. Committees

within professional organizations are typically volunteer activities, subject to the

same internal politics of all human social structures. That is, committee members are

not necessarily committees of experts on a topic—they are often committees of

generalists handling a wide variety of issues or members of an interest group who


89   Meyer, 2003.


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feel strongly about political implications of an issue, instead of scientists engaged in

the objective study of the topic.

   96.     Thus, documents from professional associations may represent required

standards, the violation of which may merit sanctions, or may represent only

recommendations or guidelines. A document may represent the views of an

association’s full membership or only of the committee’s members (or majorities

thereof). Documents may be based on systematic, comprehensive reviews of the

available research or selected portions of the research. In sum, the weight best placed
on any association’s statement is the amount by which that association employed

evidence versus other considerations in its process.

         B. Misrepresentations of statements of professional associations.
   97.     In the presently highly politicized context, official statements of

professional associations have been widely misrepresented. In preparing the present

report, I searched the professional research literature for documentation of

statements from these bodies and from my own files, for which I have been collecting

such information for many years. I was able to identify statements from six such

organizations. Although not strictly a medical association, the World Professional

Association for Transgender Health (WPATH) also distributed a set of guidelines in

wide use and on which other organizations’ guidelines are based.

   98.     Notably, despite that all these medical associations reiterate the need for

mental health issues to be resolved before engaging in medical transition, only the

AACAP members have medical training in mental health. The other medical

specialties include clinical participation with this population, but their assistance in

transition generally assumes the mental health aspects have already been assessed

and treated beforehand.

           1. World Professional        Association     for   Transgender       Health
              (WPATH)


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     99.    The WPATH standards as they relate to prepubescent children begin with

the acknowledgement of the known rates of desistance among gender dysphoric

children:
            [I]n follow-up studies of prepubertal children (mainly boys) who were
            referred to clinics for assessment of gender dysphoria, the dysphoria
            persisted into adulthood for only 6–23% of children (Cohen-Kettenis,
            2001; Zucker & Bradley, 1995). Boys in these studies were more likely
            to identify as gay in adulthood than as transgender (Green, 1987; Money
            & Russo, 1979; Zucker & Bradley, 1995; Zuger, 1984). Newer studies,
            also including girls, showed a 12–27% persistence rate of gender
            dysphoria into adulthood (Drummond, Bradley, Peterson-Badali, &
            Zucker, 2008; Wallien & Cohen-Kettenis, 2008).90
     100.   That is, “In most children, gender dysphoria will disappear before, or early
in, puberty.”91

     101.   Although WPATH does not refer to puberty blocking medications as

“experimental,” the document indicates the non-routine, or at least inconsistent

availability of the treatment:
            Among adolescents who are referred to gender identity clinics, the
            number considered eligible for early medical treatment—starting with
            GnRH analogues to suppress puberty in the first Tanner stages—differs
            among countries and centers. Not all clinics offer puberty suppression.
            If such treatment is offered, the pubertal stage at which adolescents are
            allowed to start varies from Tanner stage 2 to stage 4 (Delemarre, van
            de Waal & Cohen-Kettenis, 2006; Zucker et al., [2012]).92
     102.   WPATH neither endorses nor proscribes social transitions before puberty,

instead recognizing the diversity among families’ decisions:
            Social transitions in early childhood do occur within some families with
            early success. This is a controversial issue, and divergent views are held
            by health professionals. The current evidence base is insufficient to
            predict the long-term outcomes of completing a gender role transition
            during early childhood.93
     103.   It does caution, however, “Relevant in this respect are the previously

described relatively low persistence rates of childhood gender dysphoria.”94

            2. Endocrine Society (ES)
90   Coleman, et al., 2012, at 172.
91   Coleman, et al., 2012, at 173.
92   Coleman, et al., 2012, at 173.
93   Coleman, et al., 2012, at 176.
94   Coleman, et al., 2012, at 176 (quoting Drummond, et al., 2008; Wallien & Cohen-Kettenis, 2008).


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     104.   The 150,000-member Endocrine Society appointed a nine-member task

force, plus a methodologist and a medical writer, who commissioned two systematic

reviews of the research literature and, in 2017, published an update of their 2009

recommendations, based on the best available evidence identified. The guideline was

co-sponsored by the American Association of Clinical Endocrinologists, American

Society of Andrology, European Society for Paediatric Endocrinology, European

Society of Endocrinology, Pediatric Endocrine Society (PES), and the World

Professional Association for Transgender Health (WPATH).
     105.   The document acknowledged the frequency of desistance among gender

dysphoric children:
            Prospective follow-up studies show that childhood GD/gender
            incongruence does not invariably persist into adolescence and adulthood
            (so-called “desisters”). Combining all outcome studies to date, the
            GD/gender incongruence of a minority of prepubertal children appears
            to persist in adolescence. . . . In adolescence, a significant number of
            these desisters identify as homosexual or bisexual.95
     106.   The statement similarly acknowledges inability to predict desistance or

persistence, “With current knowledge, we cannot predict the psychosexual outcome

for any specific child.”96

     107.   Although outside their area of professional expertise, mental health issues

were also addressed by the Endocrine Society, repeating the need to handle such

issues before engaging in transition, “In cases in which severe psychopathology,

circumstances, or both seriously interfere with the diagnostic work or make

satisfactory treatment unlikely, clinicians should assist the adolescent in managing

these other issues.”97 This ordering—to address mental health issues before

embarking on transition—avoids relying on the unproven belief that transition will

solve such issues.


95   Hembree, et al., 2017, at 3876.
96   Hembree, et al., 2017, at 3876.
97   Hembree, et al., 2017, at 3877.


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      108.   The Endocrine Society did not endorse any affirmation-only approach. The

guidelines were neutral with regard to social transitions before puberty, instead

advising that such decisions be made only under clinical supervision: “We advise that

decisions regarding the social transition of prepubertal youth are made with the

assistance of a mental health professional or similarly experienced professional.”98

      109.   The Endocrine Society guidelines make explicit that, after gathering

information from adolescent clients seeking medical interventions and their parents,

the clinician “provides correct information to prevent unrealistically high
expectations [and] assesses whether medical interventions may result in unfavorable

psychological and social outcomes.”99

             3. Pediatric Endocrine Society and Endocrine Society (ES/PES)
      110.   In 2020, the 1500-member Pediatric Endocrine Society partnered with the

Endocrine Society to create and endorse a brief, two-page position statement.100

Although strongly worded, the document provided no specific guidelines, instead

deferring to the Endocrine Society guidelines.101

      111.   It is not clear to what extent this endorsement is meaningful, however.

According to the PES, the Endocrine Society “recommendations include evidence that

treatment of gender dysphoria/gender incongruence is medically necessary and

should be covered by insurance.”102 However, the Endocrine Society makes neither

statement. Although the two-page PES document mentioned insurance coverage four

times, the only mention of health insurance by the Endocrine Society was: “If GnRH

analog treatment is not available (insurance denial, prohibitive cost, or other

reasons), postpubertal, transgender female adolescents may be treated with an



98    Hembree, et al., 2017, at 3872.
99    Hembree, et al., 2017, at 3877.
100   PES, online; Pediatric Endocrine Society & Endocrine Society, Dec. 2020.
101   Pediatric Endocrine Society & Endocrine Society, Dec. 2020, at 1; Hembree, et al., 2017.
102   Pediatric Endocrine Society & Endocrine Society, Dec. 2020, at 1.


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antiandrogen that directly suppresses androgen synthesis or action.”103 Despite the

PES asserting it as “medically necessary,” the Endocrine Society stopped short of

that. Its only use of that phrase was instead limiting: “We recommend that a patient

pursue genital gender-affirming surgery only after the MHP and the clinician

responsible for endocrine transition therapy both agree that surgery is medically

necessary and would benefit the patient’s overall health and/or well-being.”104

             4. American Academy of Child & Adolescent Psychiatry (AACAP)
      112.   The 2012 statement of the American Academy of Child & Adolescent
Psychiatry (AACAP) is not an affirmation-only policy. It notes:
             Just as family rejection is associated with problems such as depression,
             suicidality, and substance abuse in gay youth, the proposed benefits of
             treatment to eliminate gender discordance in youth must be carefully
             weighed against such possible deleterious effects. . . . In general, it is
             desirable to help adolescents who may be experiencing gender distress
             and dysphoria to defer sex reassignment until adulthood, or at least
             until the wish to change sex is unequivocal, consistent, and made with
             appropriate consent.105
      113.   The AACAP’s language repeats the description of the use of puberty

blockers only as an exception: “For situations in which deferral of sex reassignment

decisions until adulthood is not clinically feasible, one approach that has been

described in case series is sex hormone suppression under endocrinological

management with psychiatric consultation using gonadotropin-releasing hormone

analogues.”106

      114.   The AACAP statement acknowledges the long-term outcomes literature for

gender dysphoric children: “In follow-up studies of prepubertal boys with gender

discordance—including many without any mental health treatment—the cross

gender wishes usually fade over time and do not persist into adulthood,”107 adding

that “[c]linicians should be aware of current evidence on the natural course of gender

103   Hembree, et al. 2017, at 3883.
104   Hembree, et al., 2017 at 3872, 3894.
105   Adelson & AACAP, 2012, at 969.
106   Adelson & AACAP, 2012, at 969 (italics added).
107   Adelson & AACAP, 2012, at 963.


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discordance and associated psychopathology in children and adolescents in choosing

the treatment goals and modality.”108

      115.   The policy similarly includes a provision for resolving mental health issues:

“Gender reassignment services are available in conjunction with mental health

services focusing on exploration of gender identity, cross-sex treatment wishes,

counseling during such treatment if any, and treatment of associated mental health

problems.”109 The document also includes minority stress issues and the need to deal

with mental health aspects of minority status (e.g., bullying).110
      116.   Rather than endorse social transition for prepubertal children, the AACAP

indicates: “There is similarly no data at present from controlled studies to guide

clinical decisions regarding the risks and benefits of sending gender discordant

children to school in their desired gender. Such decisions must be made based on

clinical judgment, bearing in mind the potential risks and benefits of doing so.”111

             5. American College of Obstetricians & Gynecologists (ACOG)
      117.   The American College of Obstetricians & Gynecologists (ACOG) published

a “Committee Opinion” expressing recommendations in 2017. The statement

indicates it was developed by the ACOG’s Committee on Adolescent Health Care, but

does not indicate participation based on professional expertise or a systematic method

of objectively assessing the existing research. It includes the disclaimer: “This

document reflects emerging clinical and scientific advances as of the date issued and

is subject to change. The information should not be construed as dictating an

exclusive course of treatment or procedure to be followed.”112

      118.   Prepubertal children do not typically have clinical contact with

gynecologists, and the ACOG recommendations include that the client additionally

108   Adelson & AACAP, 2012, at 968.
109   Adelson & AACAP, 2012, at 970 (italics added).
110   Adelson & AACAP, 2012, at 969.
111
      Adelson & AACAP, 2012, at 969.
112   ACOG, 2017, at 1.


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have a primary health care provider.113

      119.   The ACOG statement cites the statements made by other medical

associations—European Society for Pediatric Endocrinology (ESPE),, PES, and the

Endocrine Society—and by WPATH.114 It does not cite any professional association of

mental health care providers, however. The ACOG recommendations repeat the

previously mentioned eligibility/readiness criteria of having no mental illness that

would hamper diagnosis and no medical contraindications to treatment. It notes:

“Before any treatment is undertaken, the patient must display eligibility and
readiness (Table 1), meaning that the adolescent has been evaluated by a mental

health professional, has no contraindications to therapy, and displays an

understanding of the risks involved.”115

      120.   The “Eligibility and Readiness Criteria” also include, “Diagnosis

established for gender dysphoria, transgender, transsexualism.”116 This standard,

requiring a formal diagnosis, forestalls affirmation-on-demand because self-declared

self-identification is not sufficient for DSM diagnosis.

      121.   ACOG’s remaining recommendations pertain only to post-transition,

medically oriented concerns. Pre-pubertal social transition is not mentioned in the

document, and the outcomes studies of gender dysphoric (prepubescent) children are

not cited.

             6. American College of Physicians (ACP)
      122.   The American College of Physicians published a position paper broadly

expressing support for the treatment of LGBT patients and their families, including

nondiscrimination, antiharassment, and defining “family” by emotional rather than

biological or legal relationships in visitation policies, and the inclusion of transgender


113
      ACOG, 2017, at 1.
114
      ACOG, 2017, at 1, 3.
115   ACOG, 2017, at 1, 3 (citing the Endocrine Society guidelines) (italics added).
116   ACOG, 2017, at 3 Table 1.


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health care services in public and private health benefit plans.117

      123.   ACP did not provide guidelines or standards for child or adult gender

transitions. The policy paper opposed attempting “reparative therapy;” however, the

paper confabulated sexual orientation with gender identity in doing so. That is, on

the one hand, ACP explicitly recognized that “[s]exual orientation and gender identity

are inherently different.”118 It based this statement on the fact that “the American

Psychological Association conducted a literature review of 83 studies on the efficacy

of efforts to change sexual orientation.”119 The APA’s document, entitled “Report of
the American Psychological Task Force on appropriate therapeutic responses to

sexual orientation” does not include or reference research on gender identity.120

Despite citing no research about transgenderism, the ACP nonetheless included in

its statement: “Available research does not support the use of reparative therapy as

an effective method in the treatment of LGBT persons.”121 That is, the inclusion of

“T” with “LGB” is based on something other than the existing evidence.

      124.   There is another statement,122 which was funded by ACP and published in

the Annals of Internal Medicine under its “In the Clinic” feature, noting that “‘In the

Clinic’ does not necessarily represent official ACP clinical policy.”123 The document

discusses medical transition procedures for adults rather than for children, except to

note that “[n]o medical intervention is indicated for prepubescent youth,”124 that a

“mental health provider can assist the child and family with identifying an

appropriate time for a social transition,”125 and that the “child should be assessed and

managed for coexisting mood disorders during this period because risk for suicide is


117   Daniel & Butkus, 2015a, 2015b.
118   Daniel & Butkus, 2015b, at 2.
119   Daniel & Butkus, 2015b, at 8 (italics added).
120
      APA, 2009 (italics added).
121   Daniel & Butkus, 2015b, at 8 (italics added).
122   Safer & Tangpricha, 2019.
123   Safer & Tangpricha, 2019, at ITC1.
124   Safer & Tangpricha, 2019, at ITC9.
125   Safer & Tangpricha, 2019, at ITC9.


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higher than in their cisgender peers.”126

             7. American Academy of Pediatrics (AAP)
      125.   The policy of the American Academy of Pediatrics (AAP) is unique among

the major medical associations in being the only one to endorse an affirmation-on-

demand policy, including social transition before puberty without any watchful

waiting period. Although changes in recommendations can obviously be appropriate

in response to new research evidence, the AAP provided none. Rather, the research

studies AAP cited in support of its policy simply did not say what AAP claimed they
did. In fact, the references that AAP cited as the basis of their policy instead outright

contradicted that policy, repeatedly endorsing watchful waiting.127 Moreover, of all

the outcomes research published, the AAP policy cited one, and that without

mentioning the outcome data it contained.128.

             8. The ESPE-LWPES GnRH Analogs Consensus Conference Group
      126.   Included in the interest of completeness, there was also a collaborative

report in 2009, between the European Society for Pediatric Endocrinology (ESPE)

and the Lawson Wilkins Pediatric Endocrine Society (LWPES).129 Thirty experts

were convened, evenly divided between North American and European labs and

evenly divided male/female, who comprehensively rated the research literature on

gonadotropin-release hormone analogs in children.

      127.   The effort concluded that “[u]se of gonadotropin-releasing hormone analogs

for conditions other than central precocious puberty requires additional investigation

and cannot be suggested routinely.”130 However, gender dysphoria was not explicitly

mentioned as one of those other conditions.



126   Safer & Tangpricha, 2019, at ITC9.
127   Cantor, 2020.
128   Cantor, 2020, at 1.
129   Carel et al., 2009.
130   Carel et al. 2009, at 752.


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          C. International Health Care Consensus

              1. United Kingdom
      128.   The National Health Service (NHS) of the United Kingdom centralizes

gender counselling and transitioning services in a single clinic, the Gender Identity

Development Service (GIDS) of the Tavistock and Portman NHS Foundation Trust.

Between 2008 and 2018, the number of referrals to the clinic had increased by a factor

of 40, leading to a government inquiry into the causes131. The GIDS was repeatedly

accused of over-diagnosing and permitting transition in cases despite indicators

against patient transition, including by 35 members of the GIDS staff, who resigned
by 2019132.

      129.   The NHS appointed Dr. Hilary Cass, former President of the Royal College

of Paediatrics and Child Health, to conduct an independent review133. That review

included a systematic consolidation of all the research evidence, following established

procedures for preventing the “cherry-picking” or selective citation favouring or

down-playing any one conclusion134. The review’s results were unambiguous: “The

critical outcomes for decision making are the impact on gender dysphoria, mental

health and quality of life. The quality of evidence for these outcomes was assessed as

very low”135, again using established procedures for assessing clinical research

evidence (called GRADE). The review also assessed as “very low” the quality of

evidence regarding “body image, psychosocial impact, engagement with health care

services, impact on extent of an satisfaction with surgery and stopping treatment”136.

The report concluded that of the existing research, “The studies included in this

evidence review are all small, uncontrolled observational studies, which are subject

to bias and confounding….They suggest little change with GnRH analogues [puberty

131   Marsh, 2020; Rayner, 2018.
132   BBC, 2021; Donnelly, 2019.
133   National Health Service, 2020, Sept. 22.
134   National Institute for Health and Care Excellence, 2020.
135   National Institute for Health and Care Excellence, 2020, p. 4.
136   National Institute for Health and Care Excellence, 2020, p. 5.


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blockers] from baseline to follow-up”137.

              2. Finland
      130.   In Finland, the assessments of mental health and preparedness of minors

for transition services are centralized by law into two research clinics, Helsinki

University Central Hospital and Tampere University Hospital. The eligibility of

minors began in 2011. In 2019, Finnish researchers published an analysis of the

outcomes of adolescents diagnosed with transsexualism and receiving cross-sex

hormone treatment138. That study showed that despite the purpose of medical
transition to improve mental health: “Medical gender reassignment is not enough to

improve functioning and relieve psychiatric comorbidities among adolescents with

gender dysphoria. Appropriate interventions are warranted for psychiatric

comorbidities and problems in adolescent development”139. The patients who were

functioning well after transition were those who were already functioning well before

transition, and those who were functioning poorly, continued to function poorly after

transition.

      131.   Consistent with the evidence, Finland’s health care service (Council for

Choices in Health Care in Finland—COHERE) thus ended the surgical transition of

minors, ruling in 2020 that “Surgical treatments are not part of the treatment

methods for dysphoria caused by gender-related conflicts in minors” (COHERE,

2020). The review of the research concluded that “[N]o conclusions can be drawn on

the stability of gender identity during the period of disorder caused by a psychiatric

illness with symptoms that hamper development.” COHERE also greatly restricted

access to puberty-blocking and other hormonal treatments, indicating they “may be

considered if the need for it continues after the other psychiatric symptoms have



137   National Institute for Health and Care Excellence, 2020, p. 13.
138   Kaltiala et al., 2020.
139   Kaltiala et al., 2020, p. 213.


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ceased and adolescent development is progressing normally”140. The council was

explicit in noting the lack of research needed for decision-making, “There is also a

need for more information on the disadvantages of procedures and on people who

regret them”141.

              3. Sweden
      132.   Sweden’s national health care policy regarding trans issues has developed

quite similarly to that of the UK. Already in place 20 years ago, Swedish health care

policy permitted otherwise eligible minors to receive puberty-blockers beginning at
age 14 and cross-sex hormones at age 16.) At that time, only small numbers of minors

sought medical transition services. An explosion of referrals ensued in 2013–2014.

Sweden’s Board of Health and Welfare reported that, in 2018, the number of

diagnoses of gender dysphoria was 15 times higher than 2008 among girls ages 13–

17.

      133.   Sweden has long been very accepting with regard to sexual and gender

diversity. In 2018, a law was proposed to lower the age of eligibility for ?surgical care

from age 18 to 15, remove the requirement for parental consent, and lower legal

change of gender to age 12. A series of cases of regret and suicide were reported in

the Swedish media, leading to questions of mental health professionals failing to

consider. In 2019, the Swedish Agency for Health Technology Assessment and

Assessment of Social Services (SBU) therefore conducted its own comprehensive

review of the research142. Like the UK, the Swedish investigation employed methods

to ensure the encapsulation of the all the relevant evidence143.

      134.   The SBU report came to the same conclusions as the UK commission. From

2022 forward, the Swedish National Board or Health and Welfare therefore


140   Council for Choices in Health Care in Finland, 2020; italics added.
141   Council for Choices in Health Care in Finland, 2020; italics added.
142   Orange, 2020, Feb 22.
143   Swedish Agency for Health Technology Assessment and Assessment of Social Services, 2019.


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“recommends restraint when it comes to hormone treatment…Based on the results

that have emerged, the National Board of Health and Welfare’s overall conclusion is

that the risks of anti-puberty and sex-confirming hormone treatment for those under

18 currently outweigh the possible benefits for the group as a whole”144. Neither

puberty blockers nor cross-sex hormones would be provided under age 16, and

patients ages 16–18 would receive such treatments only within research settings

(clinical trials monitored by the appropriate Swedish research ethics board).

             4. France
      135.   In 2022, the Académie Nationale de Médecine of France issued a strongly

worded statement, citing the Swedish ban on hormone treatments. “[A] great medical

caution must be taken in children and adolescents, given the vulnerability,

particularly psychological, of this population and the many undesirable effects, and

even serious complications, that some of the available therapies can cause…such as

impact on growth, bone fragility, risk of sterility, emotional and intellectual

consequences and, for girls, symptoms reminiscent of menopause”145. For hormones,

the Académie concluded “the greatest reserve is required in their use,” and for

surgical treatments, “[T]heir irreversible nature must be emphasized.” The Académie

did not outright ban medical interventions, but warned “the risk of over-diagnosis is

real, as shown by the increasing number of transgender young adults wishing to

“detransition”. Rather than medical interventions, it advised health care providers

“to extend as much as possible the psychological support phase.” The Académie

reviewed and emphasized the evidence indicating the very large and very sudden

increase in youth requesting medical transition. It attributed the change, not to

society now being more accepting of sexual diversity, but to social media, “underlining

the addictive character of excessive consultation of social networks which is both


144   Swedish National Board of Health and Welfare, 2022.
145   Académie Nationale de Médecine, 2022, Feb. 25.


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harmful to the psychological development of young people and responsible, for a very

important part, of the growing sense of gender incongruence.”




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                                 APPENDICES

Appendix 1

     Curriculum Vita



Appendix 2

     Peer-reviewed article:

     Cantor, J. M. (2020). Transgender and gender diverse children and
       adolescents: Fact-checking of AAP policy. Journal of Sex & Marital
       Therapy, 46, 307–313. doi: 10.1080/0092623X.2019.1698481



Appendix 3

     The Outcomes Studies of Childhood-Onset Gender Dysphoria
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                       James M. Cantor, PhD
Toronto Sexuality Centre
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Toronto, Ontario, Canada M5B 1J3


                                        EDUCATION

Postdoctoral Fellowship                                                   Jan., 2000–May, 2004
Centre for Addiction and Mental Health • Toronto, Canada

Doctor of Philosophy                                                      Sep., 1993–Jun., 2000
Psychology • McGill University • Montréal, Canada

Master of Arts                                                             Sep., 1990–Jan., 1992
Psychology • Boston University • Boston, MA

Bachelor of Science                                                       Sep. 1984–Aug., 1988
Interdisciplinary Science • Rensselaer Polytechnic Institute • Troy, NY
Concentrations: Computer science, mathematics, physics


                                   EMPLOYMENT HISTORY

Director                                                                     Feb., 2017–Present
Toronto Sexuality Centre • Toronto, Canada

Senior Scientist (Inaugural Member)                                       Aug., 2012–May, 2018
Campbell Family Mental Health Research Institute
Centre for Addiction and Mental Health • Toronto, Canada

Senior Scientist                                                          Jan., 2012–May, 2018
Complex Mental Illness Program
Centre for Addiction and Mental Health • Toronto, Canada

Head of Research                                                          Nov., 2010–Apr. 2014
Sexual Behaviours Clinic
Centre for Addiction and Mental Health • Toronto, Canada

Research Section Head                                                     Dec., 2009–Sep. 2012
Law & Mental Health Program
Centre for Addiction and Mental Health • Toronto, Canada

Psychologist                                                              May, 2004–Dec., 2011
Law & Mental Health Program
Centre for Addiction and Mental Health • Toronto, Canada


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Clinical Psychology Intern                                    Sep., 1998–Aug., 1999
Centre for Addiction and Mental Health • Toronto, Canada

Teaching Assistant                                            Sep., 1993–May, 1998
Department of Psychology
McGill University • Montréal, Canada

Pre-Doctoral Practicum                                        Sep., 1993–Jun., 1997
Sex and Couples Therapy Unit
Royal Victoria Hospital • Montréal, Canada

Pre-Doctoral Practicum                                        May, 1994–Dec., 1994
Department of Psychiatry
Queen Elizabeth Hospital • Montréal, Canada


                             ACADEMIC APPOINTMENTS

Associate Professor                                            Jul., 2010–May, 2019
Department of Psychiatry
University of Toronto Faculty of Medicine • Toronto, Canada

Adjunct Faculty                                               Aug. 2013–Jun., 2018
Graduate Program in Psychology
York University • Toronto, Canada

Associate Faculty (Hon)                                       Oct., 2017–Dec., 2017
School of Behavioural, Cognitive & Social Science
University of New England • Armidale, Australia

Assistant Professor                                            Jun., 2005–Jun., 2010
Department of Psychiatry
University of Toronto Faculty of Medicine • Toronto, Canada

Adjunct Faculty                                               Sep., 2004–Jun., 2010
Clinical Psychology Residency Program
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                                      PUBLICATIONS

1.  Cantor, J. M. (2020). Transgender and gender diverse children and adolescents: Fact-
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        sexual and violent recidivism for individuals with low intellectual functioning. Journal
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10. Cantor, J. M. (2017). Sexual deviance or social deviance: What MRI research reveals about
        pedophilia. ATSA Forum, 29(2). Association for the Treatment of Sexual Abusers.
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11. Walton, M. T., Cantor, J. M., Bhullar, N., & Lykins, A. D. (2017). Hypersexuality: A
        critical review and introduction to the “Sexhavior Cycle.” Archives of Sexual Behavior,
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12. Stephens, S., Leroux, E., Skilling, T., Cantor, J. M., & Seto, M. C. (2017). A taxometric
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14. Seto, M. C., Stephens, S., Lalumière, M. L., & Cantor, J. M. (2017). The Revised Screening
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        Sexual Abuse: A Journal of Research and Treatment, 29, 619–635. doi:


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15. Stephens, S., Cantor, J. M., Goodwill, A. M., & Seto, M. C. (2017). Multiple indicators of
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17. Walton, M. T., Cantor, J. M., & Lykins, A. D. (2017). An online assessment of personality,
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LETTERS AND COMMENTARIES
1.  Cantor, J. M. (2015). Research methods, statistical analysis, and the phallometric test for
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2. Cantor, J. M. (2015). In his own words: Response to Moser [Editorial Commentary].
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3. Cantor, J. M. (2015). Purported changes in pedophilia as statistical artefacts: Comment on
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5. Soh, D. W., & Cantor, J. M. (2015). A peek inside a furry convention [Letter to the Editor].
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        teleiophiles [Letter to the Editor]. Archives of Sexual Behavior, 41, 749–752. doi:
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        transsexualism [Letter to the Editor]. Archives of Sexual Behavior, 40, 863–864. doi:
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11. Cantor, J. M. (2003, Summer). Review of the book The Man Who Would Be Queen by J.
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12. Cantor, J. M. (2003, Spring). What are the hot topics in LGBT research in psychology?
        Newsletter of Division 44 of the American Psychological Association, 19(1), 21–24.
13. Cantor, J. M. (2002, Fall). Male homosexuality, science, and pedophilia. Newsletter of
        Division 44 of the American Psychological Association, 18(3), 5–8.
14. Cantor, J. M. (2000). Review of the book Sexual Addiction: An Integrated Approach.
        Journal of Sex and Marital Therapy, 26, 107–109.


EDITORIALS
1.    Cantor, J. M. (2012). Editorial. Sexual Abuse: A Journal of Research and Treatment, 24.



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2.  Cantor, J. M. (2011). Editorial note. Sexual Abuse: A Journal of Research and Treatment,
        23, 414.
3. Barbaree, H. E., & Cantor, J. M. (2010). Performance indicates for Sexual Abuse: A Journal
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        and Treatment, 22, 371–373.
4. Barbaree, H. E., & Cantor, J. M. (2009). Sexual Abuse: A Journal of Research and
        Treatment performance indicators for 2007 [Editorial]. Sexual Abuse: A Journal of
        Research and Treatment, 21, 3–5.
5. Zucker, K. J., & Cantor, J. M. (2009). Cruising: Impact factor data [Editorial]. Archives of
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6. Barbaree, H. E., & Cantor, J. M. (2008). Performance indicators for Sexual Abuse: A
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7. Zucker, K. J., & Cantor, J. M. (2008). The Archives in the era of online first ahead of
        print[Editorial]. Archives of Sexual Behavior, 37, 512–516.
8. Zucker, K. J., & Cantor, J. M. (2006). The impact factor: The Archives breaks from the pack
        [Editorial]. Archives of Sexual Behavior, 35, 7–9.
9. Zucker, K. J., & Cantor, J. M. (2005). The impact factor: “Goin’ up” [Editorial]. Archives of
        Sexual Behavior, 34, 7–9.
10. Zucker, K., & Cantor, J. M. (2003). The numbers game: The impact factor and all that jazz
        [Editorial]. Archives of Sexual Behavior, 32, 3–5.




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                                    FUNDING HISTORY

Principal Investigators:   Doug VanderLaan, Meng-Chuan Lai
Co-Investigators:          James M. Cantor, Megha Mallar Chakravarty, Nancy Lobaugh, M.
                           Palmert, M. Skorska
Title:                     Brain function and connectomics following sex hormone treatment in
                           adolescents experience gender dysphoria
Agency:                    Canadian Institutes of Health Research (CIHR),
                           Behavioural Sciences-B-2
Funds:                     $650,250 / 5 years (July, 2018)

Principal Investigator:    Michael C. Seto
Co-Investigators:          Martin Lalumière , James M. Cantor
Title:                     Are connectivity differences unique to pedophilia?
Agency:                    University Medical Research Fund, Royal Ottawa Hospital
Funds:                     $50,000 / 1 year (January, 2018)

Principal Investigator:    Lori Brotto
Co-Investigators:          Anthony Bogaert, James M. Cantor, Gerulf Rieger
Title:                     Investigations into the neural underpinnings and biological correlates
                           of asexuality
Agency:                    Natural Sciences and Engineering Research Council (NSERC),
                           Discovery Grants Program
Funds:                     $195,000 / 5 years (April, 2017)

Principal Investigator:    Doug VanderLaan
Co-Investigators:          Jerald Bain, James M. Cantor, Megha Mallar Chakravarty, Sofia
                           Chavez, Nancy Lobaugh, and Kenneth J. Zucker
Title:                     Effects of sex hormone treatment on brain development: A magnetic
                           resonance imaging study of adolescents with gender dysphoria
Agency:                    Canadian Institutes of Health Research (CIHR),
                           Transitional Open Grant Program
Funds:                     $952,955 / 5 years (September, 2015)

Principal Investigator:    James M. Cantor
Co-Investigators:          Howard E. Barbaree, Ray Blanchard, Robert Dickey, Todd A. Girard,
                           Phillip E. Klassen, and David J. Mikulis
Title:                     Neuroanatomic features specific to pedophilia
Agency:                    Canadian Institutes of Health Research (CIHR)
Funds:                     $1,071,920 / 5 years (October, 2008)

Principal Investigator:    James M. Cantor
Title:                     A preliminary study of fMRI as a diagnostic test of pedophilia
Agency:                    Dean of Medicine New Faculty Grant Competition, Univ. of Toronto
Funds:                     $10,000 (July, 2008)




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Principal Investigator:   James M. Cantor
Co-Investigator:          Ray Blanchard
Title:                    Morphological and neuropsychological correlates of pedophilia
Agency:                   Canadian Institutes of Health Research (CIHR)
Funds:                    $196,902 / 3 years (April, 2006)




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                        KEYNOTE AND INVITED ADDRESSES

1.  Cantor, J. M. (2021, September 28). No topic too tough for this expert panel: A year in
       review. Plenary Session for the 40th Annual Research and Treatment Conference,
       Association for the Treatment of Sexual Abusers.
2. Cantor, J. M. (2019, May 1). Introduction and Q&A for ‘I, Pedophile.’ StopSO 2nd Annual
       Conference, London, UK.
3. Cantor, J. M. (2018, August 29). Neurobiology of pedophilia or paraphilia? Towards a
       ‘Grand Unified Theory’ of sexual interests. Keynote address to the International
       Association for the Treatment of Sexual Offenders, Vilnius, Lithuania.
4. Cantor, J. M. (2018, August 29). Pedophilia and the brain: Three questions asked and
       answered. Preconference training presented to the International Association for the
       Treatment of Sexual Offenders, Vilnius, Lithuania.
5. Cantor, J. M. (2018, April 13). The responses to I, Pedophile from We, the people. Keynote
       address to the Minnesota Association for the Treatment of Sexual Abusers, Minneapolis,
       Minnesota.
6. Cantor, J. M. (2018, April 11). Studying atypical sexualities: From vanilla to I, Pedophile.
       Full day workshop at the Minnesota Association for the Treatment of Sexual Abusers,
       Minneapolis, Minnesota.
7. Cantor, J. M. (2018, January 20). How much sex is enough for a happy life? Invited lecture
       to the University of Toronto Division of Urology Men’s Health Summit, Toronto,
       Canada.
8. Cantor, J. M. (2017, November 2). Pedophilia as a phenomenon of the brain: Update of
       evidence and the public response. Invited presentation to the 7th annual SBC education
       event, Centre for Addiction and Mental Health, Toronto, Canada.
9. Cantor, J. M. (2017, June 9). Pedophilia being in the brain: The evidence and the public’s
       reaction. Invited presentation to SEXposium at the ROM: The science of love and sex,
       Toronto, Canada.
10. Cantor, J. M., & Campea, M. (2017, April 20). “I, Pedophile” showing and discussion.
       Invited presentation to the 42nd annual meeting of the Society for Sex Therapy and
       Research, Montréal, Canada.
11. Cantor, J. M. (2017, March 1). Functional and structural neuroimaging of pedophilia:
       Consistencies across methods and modalities. Invited lecture to the Brain Imaging
       Centre, Royal Ottawa Hospital, Ottawa, Canada.
12. Cantor, J. M. (2017, January 26). Pedophilia being in the brain: The evidence and the public
       reaction. Inaugural keynote address to the University of Toronto Sexuality Interest
       Network, Toronto, Ontario, Canada.
13. Cantor, J. M. (2016, October 14). Discussion of CBC’s “I, Pedophile.” Office of the
       Children’s Lawyer Educational Session, Toronto, Ontario, Canada.
14. Cantor, J. M. (2016, September 15). Evaluating the risk to reoffend: What we know and
       what we don’t. Invited lecture to the Association of Ontario Judges, Ontario Court of
       Justice Annual Family Law Program, Blue Mountains, Ontario, Canada. [Private link
       only: https://vimeo.com/239131108/3387c80652]
15. Cantor, J. M. (2016, April 8). Pedophilia and the brain: Conclusions from the second
       generation of research. Invited lecture at the 10th annual Risk and Recovery Forensic
       Conference, Hamilton, Ontario.


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16. Cantor, J. M. (2016, April 7). Hypersexuality without the hyperbole. Keynote address to the
       10th annual Risk and Recovery Forensic Conference, Hamilton, Ontario.
17. Cantor, J. M. (2015, November). No one asks to be sexually attracted to children: Living in
       Daniel’s World. Grand Rounds, Centre for Addiction and Mental Health. Toronto,
       Canada.
18. Cantor, J. M. (2015, August). Hypersexuality: Getting past whether “it” is or “it” isn’t.
       Invited address at the 41st annual meeting of the International Academy of Sex Research.
       Toronto, Canada.
19. Cantor, J. M. (2015, July). A unified theory of typical and atypical sexual interest in men:
       Paraphilia, hypersexuality, asexuality, and vanilla as outcomes of a single, dual
       opponent process. Invited presentation to the 2015 Puzzles of Sexual Orientation
       conference, Lethbridge, AL, Canada.
20. Cantor, J. M. (2015, June). Hypersexuality. Keynote Address to the Ontario Problem
       Gambling Provincial Forum. Toronto, Canada.
21. Cantor, J. M. (2015, May). Assessment of pedophilia: Past, present, future. Keynote
       Address to the International Symposium on Neural Mechanisms Underlying Pedophilia
       and Child Sexual Abuse (NeMUP). Berlin, Germany.
22. Cantor, J. M. (2015, March). Prevention of sexual abuse by tackling the biggest stigma of
       them all: Making sex therapy available to pedophiles. Keynote address to the 40th annual
       meeting of the Society for Sex Therapy and Research, Boston, MA.
23. Cantor, J. M. (2015, March. Pedophilia: Predisposition or perversion? Panel discussion at
       Columbia University School of Journalism. New York, NY.
24. Cantor, J. M. (2015, February). Hypersexuality. Research Day Grand Rounds presentation
       to Ontario Shores Centre for Mental Health Sciences, Whitby, Ontario, Canada.
25. Cantor, J. M. (2015, January). Brain research and pedophilia: What it means for
       assessment, research, and policy. Keynote address to the inaugural meeting of the
       Netherlands Association for the Treatment of Sexual Abusers, Utrecht, Netherlands.
26. Cantor, J. M. (2014, December). Understanding pedophilia and the brain: Implications for
       safety and society. Keynote address for The Jewish Community Confronts Violence and
       Abuse: Crisis Centre for Religious Women, Jerusalem, Israel.
27. Cantor, J. M. (2014, October). Understanding pedophilia & the brain. Invited full-day
       workshop for the Sex Offender Assessment Board of Pennsylvania, Harrisburg, PA.
28. Cantor, J. M. (2014, September). Understanding neuroimaging of pedophilia: Current
       status and implications. Invited lecture presented to the Mental Health and Addition
       Rounds, St. Joseph’s Healthcare, Hamilton, Ontario, Canada.
29. Cantor, J. M. (2014, June). An evening with Dr. James Cantor. Invited lecture presented to
       the Ontario Medical Association, District 11 Doctors’ Lounge Program, Toronto,
       Ontario, Canada.
30. Cantor, J. M. (2014, April). Pedophilia and the brain. Invited lecture presented to the
       University of Toronto Medical Students lunchtime lecture. Toronto, Ontario, Canada.
31. Cantor, J. M. (2014, February). Pedophilia and the brain: Recap and update. Workshop
       presented at the 2014 annual meeting of the Washington State Association for the
       Treatment of Sexual Abusers, Cle Elum, WA.
32. Cantor, J. M., Lafaille, S., Hannah, J., Kucyi, A., Soh, D., Girard, T. A., & Mikulis, D. M.
       (2014, February). Functional connectivity in pedophilia. Neuropsychiatry Rounds,
       Toronto Western Hospital, Toronto, Ontario, Canada.


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33. Cantor, J. M. (2013, November). Understanding pedophilia and the brain: The basics, the
       current status, and their implications. Invited lecture to the Forensic Psychology
       Research Centre, Carleton University, Ottawa, Canada.
34. Cantor, J. M. (2013, November). Mistaking puberty, mistaking hebephilia. Keynote address
       presented to the 32nd annual meeting of the Association for the Treatment of Sexual
       Abusers, Chicago, IL.
35. Cantor, J. M. (2013, October). Understanding pedophilia and the brain: A recap and
       update. Invited workshop presented at the 32nd annual meeting of the Association for
       the Treatment of Sexual Abusers, Chicago, IL.
36. Cantor, J. M. (2013, October). Compulsive-hyper-sex-addiction: I don’t care what we all it,
       what can we do? Invited address presented to the Board of Examiners of Sex Therapists
       and Counselors of Ontario, Toronto, Ontario, Canada.
37. Cantor, J. M. (2013, September). Neuroimaging of pedophilia: Current status and
       implications. McGill University Health Centre, Department of Psychiatry Grand Rounds
       presentation, Montréal, Québec, Canada.
38. Cantor, J. M. (2013, April). Understanding pedophilia and the brain. Invited workshop
       presented at the 2013 meeting of the Minnesota Association for the Treatment of Sexual
       Abusers, Minneapolis, MN.
39. Cantor, J. M. (2013, April). The neurobiology of pedophilia and its implications for
       assessment, treatment, and public policy. Invited lecture at the 38th annual meeting of
       the Society for Sex Therapy and Research, Baltimore, MD.
40. Cantor, J. M. (2013, April). Sex offenders: Relating research to policy. Invited roundtable
       presentation at the annual meeting of the Academy of Criminal Justice Sciences, Dallas,
       TX.
41. Cantor, J. M. (2013, March). Pedophilia and brain research: From the basics to the state-
       of-the-art. Invited workshop presented to the annual meeting of the Forensic Mental
       Health Association of California, Monterey, CA.
42. Cantor, J. M. (2013, January). Pedophilia and child molestation. Invited lecture presented
       to the Canadian Border Services Agency, Toronto, Ontario, Canada.
43. Cantor, J. M. (2012, November). Understanding pedophilia and sexual offenders against
       children: Neuroimaging and its implications for public safety. Invited guest lecture to
       University of New Mexico School of Medicine Health Sciences Center, Albuquerque,
       NM.
44. Cantor, J. M. (2012, November). Pedophilia and brain research. Invited guest lecture to the
       annual meeting of the Circles of Support and Accountability, Toronto, Ontario, Canada.
45. Cantor, J. M. (2012, January). Current findings on pedophilia brain research. Invited
       workshop at the San Diego International Conference on Child and Family Maltreatment,
       San Diego, CA.
46. Cantor, J. M. (2012, January). Pedophilia and the risk to re-offend. Invited lecture to the
       Ontario Court of Justice Judicial Development Institute, Toronto, Ontario, Canada.
47. Cantor, J. M. (2011, November). Pedophilia and the brain: What it means for assessment,
       treatment, and policy. Plenary Lecture presented at the Association for the Treatment of
       Sexual Abusers, Toronto, Ontario, Canada.
48. Cantor, J. M. (2011, July). Towards understanding contradictory findings in the
       neuroimaging of pedophilic men. Keynote address to 7th annual conference on Research
       in Forensic Psychiatry, Regensberg, Germany.


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49. Cantor, J. M. (2011, March). Understanding sexual offending and the brain: Brain basics to
       the state of the art. Workshop presented at the winter conference of the Oregon
       Association for the Treatment of Sexual Abusers, Oregon City, OR.
50. Cantor, J. M. (2010, October). Manuscript publishing for students. Workshop presented at
       the 29th annual meeting of the Association for the Treatment of Sexual Abusers,
       Phoenix, AZ.
51. Cantor, J. M. (2010, August). Is sexual orientation a paraphilia? Invited lecture at the
       International Behavioral Development Symposium, Lethbridge, Alberta, Canada.
52. Cantor, J. M. (2010, March). Understanding sexual offending and the brain: From the
       basics to the state of the art. Workshop presented at the annual meeting of the
       Washington State Association for the Treatment of Sexual Abusers, Blaine, WA.
53. Cantor, J. M. (2009, January). Brain structure and function of pedophilia men.
       Neuropsychiatry Rounds, Toronto Western Hospital, Toronto, Ontario.
54. Cantor, J. M. (2008, April). Is pedophilia caused by brain dysfunction? Invited address to
       the University-wide Science Day Lecture Series, SUNY Oswego, Oswego, NY.
55. Cantor, J. M., Kabani, N., Christensen, B. K., Zipursky, R. B., Barbaree, H. E., Dickey, R.,
       Klassen, P. E., Mikulis, D. J., Kuban, M. E., Blak, T., Richards, B. A., Hanratty, M. K.,
       & Blanchard, R. (2006, September). MRIs of pedophilic men. Invited presentation at the
       25th annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
56. Cantor, J. M., Blanchard, R., & Christensen, B. K. (2003, March). Findings in and
       implications of neuropsychology and epidemiology of pedophilia. Invited lecture at the
       28th annual meeting of the Society for Sex Therapy and Research, Miami.
57. Cantor, J. M., Christensen, B. K., Klassen, P. E., Dickey, R., & Blanchard, R. (2001, July).
       Neuropsychological functioning in pedophiles. Invited lecture presented at the 27th
       annual meeting of the International Academy of Sex Research, Bromont, Canada.
58. Cantor, J. M., Blanchard, R., Christensen, B., Klassen, P., & Dickey, R. (2001, February).
       First glance at IQ, memory functioning and handedness in sex offenders. Lecture
       presented at the Forensic Lecture Series, Centre for Addiction and Mental Health,
       Toronto, Ontario, Canada.
59. Cantor, J. M. (1999, November). Reversal of SSRI-induced male sexual dysfunction:
       Suggestions from an animal model. Grand Rounds presentation at the Allan Memorial
       Institute, Royal Victoria Hospital, Montréal, Canada.




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                     PAPER PRESENTATIONS AND SYMPOSIA

1.  Cantor, J. M. (2020, April). “I’d rather have a trans kid than a dead kid”: Critical assessment
        of reported rates of suicidality in trans kids. Paper presented at the annual meeting of
        the Society for the Sex Therapy and Research. Online in lieu of in person meeting.
2. Stephens, S., Lalumière, M., Seto, M. C., & Cantor, J. M. (2017, October). The relationship
        between sexual responsiveness and sexual exclusivity in phallometric profiles. Paper
        presented at the annual meeting of the Canadian Sex Research Forum, Fredericton,
        New Brunswick, Canada.
3. Stephens, S., Cantor, J. M., & Seto, M. C. (2017, March). Can the SSPI-2 detect hebephilic
        sexual interest? Paper presented at the annual meeting of the American-Psychology
        Law Society Annual Meeting, Seattle, WA.
4. Stephens, S., Seto, M. C., Goodwill, A. M., & Cantor, J. M. (2015, October). Victim choice
        polymorphism and recidivism. Symposium Presentation. Paper presented at the 34th
        annual meeting of the Association for the Treatment of Sexual Abusers, Montréal,
        Canada.
5. McPhail, I. V., Hermann, C. A., Fernane, S. Fernandez, Y., Cantor, J. M., & Nunes, K. L.
        (2014, October). Sexual deviance in sexual offenders against children: A meta-analytic
        review of phallometric research. Paper presented at the 33rd annual meeting of the
        Association for the Treatment of Sexual Abusers, San Diego, CA.
6. Stephens, S., Seto, M. C., Cantor, J. M., & Goodwill, A. M. (2014, October). Is hebephilic
        sexual interest a criminogenic need?: A large scale recidivism study. Paper presented
        at the 33rd annual meeting of the Association for the Treatment of Sexual Abusers, San
        Diego, CA.
7. Stephens, S., Seto, M. C., Cantor, J. M., & Lalumière, M. (2014, October). Development
        and validation of the Revised Screening Scale for Pedophilic Interests (SSPI–2). Paper
        presented at the 33rd annual meeting of the Association for the Treatment of Sexual
        Abusers, San Diego, CA.
8. Cantor, J. M., Lafaille, S., Hannah, J., Kucyi, A., Soh, D., Girard, T. A., & Mikulis, D. M.
        (2014, September). Pedophilia and the brain: White matter differences detected with
        DTI. Paper presented at the 13th annual meeting of the International Association for the
        Treatment of Sexual Abusers, Porto, Portugal.
9. Stephens, S., Seto, M., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2014, March). The
        role of hebephilic sexual interests in sexual victim choice. Paper presented at the annual
        meeting of the American Psychology and Law Society, New Orleans, LA.
10. McPhail, I. V., Fernane, S. A., Hermann, C. A., Fernandez, Y. M., Nunes, K. L., & Cantor,
        J. M. (2013, November). Sexual deviance and sexual recidivism in sexual offenders
        against children: A meta-analysis. Paper presented at the 32nd annual meeting of the
        Association for the Treatment of Sexual Abusers, Chicago, IL.
11. Cantor, J. M. (2013, September). Pedophilia and the brain: Current MRI research and its
        implications. Paper presented at the 21st annual World Congress for Sexual Health,
        Porto Alegre, Brazil. [Featured among Best Abstracts, top 10 of 500.]
12. Cantor, J. M. (Chair). (2012, March). Innovations in sex research. Symposium conducted at
        the 37th annual meeting of the Society for Sex Therapy and Research, Chicago.
13. Cantor, J. M., & Blanchard, R. (2011, August). fMRI versus phallometry in the diagnosis of
        pedophilia and hebephilia. In J. M. Cantor (Chair), Neuroimaging of men’s object


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        preferences. Symposium presented at the 37th annual meeting of the International
        Academy of Sex Research, Los Angeles, USA.
14. Cantor, J. M. (Chair). (2011, August). Neuroimaging of men’s object preferences.
        Symposium conducted at the 37th annual meeting of the International Academy of Sex
        Research, Los Angeles.
15. Cantor, J. M. (2010, October). A meta-analysis of neuroimaging studies of male sexual
        arousal. In S. Stolerú (Chair), Brain processing of sexual stimuli in pedophilia: An
        application of functional neuroimaging. Symposium presented at the 29th annual
        meeting of the Association for the Treatment of Sexual Abusers, Phoenix, AZ.
16. Chivers, M. L., Seto, M. C., Cantor, J. C., Grimbos, T., & Roy, C. (April, 2010).
        Psychophysiological assessment of sexual activity preferences in women. Paper
        presented at the 35th annual meeting of the Society for Sex Therapy and Research,
        Boston, USA.
17. Cantor, J. M., Girard, T. A., & Lovett-Barron, M. (2008, November). The brain regions that
        respond to erotica: Sexual neuroscience for dummies. Paper presented at the 51st
        annual meeting of the Society for the Scientific Study of Sexuality, San Juan, Puerto
        Rico.
18. Barbaree, H., Langton, C., Blanchard, R., & Cantor, J. M. (2007, October). The role of age-
        at-release in the evaluation of recidivism risk of sexual offenders. Paper presented at
        the 26th annual meetingof the Association for the Treatment of Sexual Abusers, San
        Diego.
19. Cantor, J. M., Kabani, N., Christensen, B. K., Zipursky, R. B., Barbaree, H. E., Dickey, R.,
        Klassen, P. E., Mikulis, D. J., Kuban, M. E., Blak, T., Richards, B. A., Hanratty, M. K.,
        & Blanchard, R. (2006, July). Pedophilia and brain morphology. Abstract and paper
        presented at the 32nd annual meeting of the International Academy of Sex Research,
        Amsterdam, Netherlands.
20. Seto, M. C., Cantor, J. M., & Blanchard, R. (2006, March). Child pornography offending is
        a diagnostic indicator of pedophilia. Paper presented at the 2006 annual meeting of the
        American Psychology-Law Society Conference, St. Petersburg, Florida.
21. Blanchard, R., Cantor, J. M., Bogaert, A. F., Breedlove, S. M., & Ellis, L. (2005, August).
        Interaction of fraternal birth order and handedness in the development of male
        homosexuality. Abstract and paper presented at the International Behavioral
        Development Symposium, Minot, North Dakota.
22. Cantor, J. M., & Blanchard, R. (2005, July). Quantitative reanalysis of aggregate data on
        IQ in sexual offenders. Abstract and poster presented at the 31st annual meeting of the
        International Academy of Sex Research, Ottawa, Canada.
23. Cantor, J. M. (2003, August). Sex reassignment on demand: The clinician’s dilemma. Paper
        presented at the 111th annual meeting of the American Psychological Association,
        Toronto, Canada.
24. Cantor, J. M. (2003, June). Meta-analysis of VIQ–PIQ differences in male sex offenders.
        Paper presented at the Harvey Stancer Research Day, Toronto, Ontario, Canada.
25. Cantor, J. M. (2002, August). Gender role in autogynephilic transsexuals: The more things
        change… Paper presented at the 110th annual meeting of the American Psychological
        Association, Chicago.




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26. Cantor, J. M., Christensen, B. K., Klassen, P. E., Dickey, R., & Blanchard, R. (2001, June).
        IQ, memory functioning, and handedness in male sex offenders. Paper presented at the
        Harvey Stancer Research Day, Toronto, Ontario, Canada.
27. Cantor, J. M. (1998, August). Convention orientation for lesbian, gay, and bisexual
        students. Papers presented at the 106th annual meeting of the American Psychological
        Association.
28. Cantor, J. M. (1997, August). Discussion hour for lesbian, gay, and bisexual students.
        Presented at the 105th annual meeting of the American Psychological Association.
29. Cantor, J. M. (1997, August). Convention orientation for lesbian, gay, and bisexual
        students. Paper presented at the 105th annual meeting of the American Psychological
        Association.
30. Cantor, J. M. (1996, August). Discussion hour for lesbian, gay, and bisexual students.
        Presented at the 104th annual meeting of the American Psychological Association.
31. Cantor, J. M. (1996, August). Symposium: Question of inclusion: Lesbian and gay
        psychologists and accreditation. Paper presented at the 104th annual meeting of the
        American Psychological Association, Toronto.
32. Cantor, J. M. (1996, August). Convention orientation for lesbian, gay, and bisexual
        students. Papers presented at the 104th annual meeting of the American Psychological
        Association.
33. Cantor, J. M. (1995, August). Discussion hour for lesbian, gay, and bisexual students.
        Presented at the 103rd annual meeting of the American Psychological Association.
34. Cantor, J. M. (1995, August). Convention orientation for lesbian, gay, and bisexual
        students. Papers presented at the 103rd annual meeting of the American Psychological
        Association.
35. Cantor, J. M. (1994, August). Discussion hour for lesbian, gay, and bisexual students.
        Presented at the 102nd annual meeting of the American Psychological Association.
36. Cantor, J. M. (1994, August). Convention orientation for lesbian, gay, and bisexual
        students. Papers presented at the 102nd annual meeting of the American Psychological
        Association.
37. Cantor, J. M., & Pilkington, N. W. (1992, August). Homophobia in psychology programs: A
        survey of graduate students. Paper presented at the Centennial Convention of the
        American Psychological Association, Washington, DC. (ERIC Document Reproduction
        Service No. ED 351 618)
38. Cantor, J. M. (1991, August). Being gay and being a graduate student: Double the
        memberships, four times the problems. Paper presented at the 99th annual meeting of
        the American Psychological Association, San Francisco.




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                               POSTER PRESENTATIONS

1.  Klein, L., Stephens, S., Goodwill, A. M., Cantor, J. M., & Seto, M. C. (2015, October). The
        psychological propensities of risk in undetected sexual offenders. Poster presented at
        the 34th annual meeting of the Association for the Treatment of Sexual Abusers,
        Montréal, Canada.
2. Pullman, L. E., Stephens, S., Seto, M. C., Goodwill, A. M., & Cantor, J. M. (2015, October).
        Why are incest offenders less likely to recidivate? Poster presented at the 34th annual
        meeting of the Association for the Treatment of Sexual Abusers, Montréal, Canada.
3. Seto, M. C., Stephens, S. M., Cantor, J. M., Lalumiere, M. L., Sandler, J. C., & Freeman, N.
        A. (2015, August). The development and validation of the Revised Screening Scale for
        Pedophilic Interests (SSPI-2). Poster presentation at the 41st annual meeting of the
        International Academy of Sex Research. Toronto, Canada.
4. Soh, D. W., & Cantor, J. M. (2015, August). A peek inside a furry convention. Poster
        presentation at the 41st annual meeting of the International Academy of Sex Research.
        Toronto, Canada.
5. VanderLaan, D. P., Lobaugh, N. J., Chakravarty, M. M., Patel, R., Chavez, S. Stojanovski,
        S. O., Takagi, A., Hughes, S. K., Wasserman, L., Bain, J., Cantor, J. M., & Zucker, K.
        J. (2015, August). The neurohormonal hypothesis of gender dysphoria: Preliminary
        evidence of cortical surface area differences in adolescent natal females. Poster
        presentation at the 31st annual meeting of the International Academy of Sex Research.
        Toronto, Canada.
6. Cantor, J. M., Lafaille, S. J., Moayedi, M., Mikulis, D. M., & Girard, T. A. (2015, June).
        Diffusion tensor imaging (DTI) of the brain in pedohebephilic men: Preliminary
        analyses. Harvey Stancer Research Day, Toronto, Ontario Canada.
7. Newman, J. E., Stephens, S., Seto, M. C., & Cantor, J. M. (2014, October). The validity of
        the Static-99 in sexual offenders with low intellectual abilities. Poster presentation at
        the 33rd annual meeting of the Association for the Treatment of Sexual Abusers, San
        Diego, CA.
8. Lykins, A. D., Walton, M. T., & Cantor, J. M. (2014, June). An online assessment of
        personality, psychological, and sexuality trait variables associated with self-reported
        hypersexual behavior. Poster presentation at the 30th annual meeting of the
        International Academy of Sex Research, Dubrovnik, Croatia.
9. Stephens, S., Seto, M. C., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2013, November).
        The utility of phallometry in the assessment of hebephilia. Poster presented at the 32nd
        annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
10. Stephens, S., Seto, M. C., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2013, October).
        The role of hebephilic sexual interests in sexual victim choice. Poster presented at the
        32nd annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
11. Fazio, R. L., & Cantor, J. M. (2013, October). Analysis of the Fazio Laterality Inventory
        (FLI) in a population with established atypical handedness. Poster presented at the 33rd
        annual meeting of the National Academy of Neuropsychology, San Diego.
12. Lafaille, S., Hannah, J., Soh, D., Kucyi, A., Girard, T. A., Mikulis, D. M., & Cantor, J. M.
        (2013, August). Investigating resting state networks in pedohebephiles. Poster
        presented at the 29th annual meeting of the International Academy of Sex Research,
        Chicago.


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13. McPhail, I. V., Lykins, A. D., Robinson, J. J., LeBlanc, S., & Cantor, J. M. (2013, August).
         Effects of prescription medication on volumetric phallometry output. Poster presented
         at the 29th annual meeting of the International Academy of Sex Research, Chicago.
14. Murray, M. E., Dyshniku, F., Fazio, R. L., & Cantor, J. M. (2013, August). Minor physical
         anomalies as a window into the prenatal origins of pedophilia. Poster presented at the
         29th annual meeting of the International Academy of Sex Research, Chicago.
15. Sutton, K. S., Stephens, S., Dyshniku, F., Tulloch, T., & Cantor, J. M. (2013, August). Pilot
         group treatment for “procrasturbation.” Poster presented at 39th annual meeting of the
         International Academy of Sex Research, Chicago.
16. Sutton, K. S., Pytyck, J., Stratton, N., Sylva, D., Kolla, N., & Cantor, J. M. (2013, August).
         Client characteristics by type of hypersexuality referral: A quantitative chart review.
         Poster presented at the 39th annual meeting of the International Academy of Sex
         Research, Chicago.
17. Fazio, R. L., & Cantor, J. M. (2013, June). A replication and extension of the psychometric
         properties of the Digit Vigilance Test. Poster presented at the 11th annual meeting of the
         American Academy of Clinical Neuropsychology, Chicago.
18. Lafaille, S., Moayedi, M., Mikulis, D. M., Girard, T. A., Kuban, M., Blak, T., & Cantor, J.
         M. (2012, July). Diffusion Tensor Imaging (DTI) of the brain in pedohebephilic men:
         Preliminary analyses. Poster presented at the 38th annual meeting of the International
         Academy of Sex Research, Lisbon, Portugal.
19. Lykins, A. D., Cantor, J. M., Kuban, M. E., Blak, T., Dickey, R., Klassen, P. E., &
         Blanchard, R. (2010, July). Sexual arousal to female children in gynephilic men. Poster
         presented at the 38th annual meeting of the International Academy of Sex Research,
         Prague, Czech Republic.
20. Cantor, J. M., Girard, T. A., Lovett-Barron, M., & Blak, T. (2008, July). Brain regions
         responding to visual sexual stimuli: Meta-analysis of PET and fMRI studies. Abstract
         and poster presented at the 34th annual meeting of the International Academy of Sex
         Research, Leuven, Belgium.
21. Lykins, A. D., Blanchard, R., Cantor, J. M., Blak, T., & Kuban, M. E. (2008, July).
         Diagnosing sexual attraction to children: Considerations for DSM-V. Poster presented
         at the 34th annual meeting of the International Academy of Sex Research, Leuven,
         Belgium.
22. Cantor, J. M., Blak, T., Kuban, M. E., Klassen, P. E., Dickey, R. and Blanchard, R. (2007,
         October). Physical height in pedophilia and hebephilia. Poster presented at the 26th
         annual meeting of the Association for the Treatment of Sexual Abusers, San Diego.
23. Cantor, J. M., Blak, T., Kuban, M. E., Klassen, P. E., Dickey, R. and Blanchard, R. (2007,
         August). Physical height in pedophilia and hebephilia. Abstract and poster presented at
         the 33rd annual meeting of the International Academy of Sex Research, Vancouver,
         Canada.
24. Puts, D. A., Blanchard, R., Cardenas, R., Cantor, J., Jordan, C. L., & Breedlove, S. M.
         (2007, August). Earlier puberty predicts superior performance on male-biased
         visuospatial tasks in men but not women. Abstract and poster presented at the 33rd
         annual meeting of the International Academy of Sex Research, Vancouver, Canada.
25. Seto, M. C., Cantor, J. M., & Blanchard, R. (2005, November). Possession of child
         pornography is a diagnostic indicator of pedophilia. Poster presented at the 24th annual
         meeting of the Association for the Treatment of Sexual Abusers, New Orleans.



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26. Blanchard, R., Cantor, J. M., Bogaert, A. F., Breedlove. S. M., & Ellis, L. (2005, July).
        Interaction of fraternal birth order and handedness in the development of male
        homosexuality. Abstract and poster presented at the 31st annual meeting of the
        International Academy of Sex Research, Ottawa, Canada.
27. Cantor, J. M., & Blanchard, R. (2003, July). The reported VIQ–PIQ differences in male sex
        offenders are artifactual? Abstract and poster presented at the 29th annual meeting of
        the International Academy of Sex Research, Bloomington, Indiana.
28. Christensen, B. K., Cantor, J. M., Millikin, C., & Blanchard, R. (2002, February). Factor
        analysis of two brief memory tests: Preliminary evidence for modality-specific
        measurement. Poster presented at the 30th annual meeting of the International
        Neuropsychological Society, Toronto, Ontario, Canada.
29. Cantor, J. M., Blanchard, R., Paterson, A., Bogaert, A. (2000, June). How many gay men
        owe their sexual orientation to fraternal birth order? Abstract and poster presented at
        the International Behavioral Development Symposium, Minot, North Dakota.
30. Cantor, J. M., Binik, Y., & Pfaus, J. G. (1996, November). Fluoxetine inhibition of male rat
        sexual behavior: Reversal by oxytocin. Poster presented at the 26th annual meeting of
        the Society for Neurosciences, Washington, DC.
31. Cantor, J. M., Binik, Y., & Pfaus, J. G. (1996, June). An animal model of fluoxetine-induced
        sexual dysfunction: Dose dependence and time course. Poster presented at the 28th
        annual Conference on Reproductive Behavior, Montréal, Canada.
32. Cantor, J. M., O’Connor, M. G., Kaplan, B., & Cermak, L. S. (1993, June). Transient events
        test of retrograde memory: Performance of amnestic and unimpaired populations.
        Poster presented at the 2nd annual science symposium of the Massachusetts
        Neuropsychological Society, Cambridge, MA.




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                 EDITORIAL AND PEER-REVIEWING ACTIVITIES

Editor-in-Chief
Sexual Abuse: A Journal of Research and Treatment                  Jan., 2010–Dec., 2014


Editorial Board Memberships
Journal of Sexual Aggression                                       Jan., 2010–Dec., 2021
Journal of Sex Research, The                                       Jan., 2008–Aug., 2020
Sexual Abuse: A Journal of Research and Treatment                  Jan., 2006–Dec., 2019
Archives of Sexual Behavior                                        Jan., 2004–Present
The Clinical Psychologist                                          Jan., 2004–Dec., 2005


Ad hoc Journal Reviewer Activity
American Journal of Psychiatry                Journal of Consulting and Clinical Psychology
Annual Review of Sex Research                 Journal of Forensic Psychology Practice
Archives of General Psychiatry                Journal for the Scientific Study of Religion
Assessment                                    Journal of Sexual Aggression
Biological Psychiatry                         Journal of Sexual Medicine
BMC Psychiatry                                Journal of Psychiatric Research
Brain Structure and Function                  Nature Neuroscience
British Journal of Psychiatry                 Neurobiology Reviews
British Medical Journal                       Neuroscience & Biobehavioral Reviews
Canadian Journal of Behavioural Science       Neuroscience Letters
Canadian Journal of Psychiatry                Proceedings of the Royal Society B
Cerebral Cortex                                  (Biological Sciences)
Clinical Case Studies                         Psychological Assessment
Comprehensive Psychiatry                      Psychological Medicine
Developmental Psychology                      Psychological Science
European Psychologist                         Psychology of Men & Masculinity
Frontiers in Human Neuroscience               Sex Roles
Human Brain Mapping                           Sexual and Marital Therapy
International Journal of Epidemiology         Sexual and Relationship Therapy
International Journal of Impotence Research   Sexuality & Culture
International Journal of Sexual Health        Sexuality Research and Social Policy
International Journal of Transgenderism       The Clinical Psychologist
Journal of Abnormal Psychology                Traumatology
Journal of Clinical Psychology                World Journal of Biological Psychiatry




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                             GRANT REVIEW PANELS

2017–2021   Member, College of Reviewers, Canadian Institutes of Health Research, Canada.

2017        Committee Member, Peer Review Committee—Doctoral Research Awards A.
            Canadian Institutes of Health Research, Canada.

2017        Member, International Review Board, Research collaborations on behavioural
            disorders related to violence, neglect, maltreatment and abuse in childhood and
            adolescence. Bundesministerium für Bildung und Forschung [Ministry of
            Education and Research], Germany.

2016        Reviewer. National Science Center [Narodowe Centrum Nauki], Poland.

2016        Committee Member, Peer Review Committee—Doctoral Research Awards A.
            Canadian Institutes of Health Research, Canada.

2015        Assessor (Peer Reviewer). Discovery Grants Program. Australian Research
            Council, Australia.

2015        Reviewer. Czech Science Foundation, Czech Republic.

2015        Reviewer, “Off the beaten track” grant scheme. Volkswagen Foundation,
            Germany.

2015        External Reviewer, Discovery Grants program¾Biological Systems and
            Functions. National Sciences and Engineering Research Council of Canada,
            Canada

2015        Committee Member, Peer Review Committee—Doctoral Research Awards A.
            Canadian Institutes of Health Research, Canada.

2014        Assessor (Peer Reviewer). Discovery Grants Program. Australian Research
            Council, Australia.

2014        External Reviewer, Discovery Grants program¾Biological Systems and
            Functions. National Sciences and Engineering Research Council of Canada,
            Canada.

2014        Panel Member, Dean’s Fund—Clinical Science Panel. University of Toronto
            Faculty of Medicine, Canada.

2014        Committee Member, Peer Review Committee—Doctoral Research Awards A.
            Canadian Institutes of Health Research, Canada.

2013        Panel Member, Grant Miller Cancer Research Grant Panel. University of Toronto
            Faculty of Medicine, Canada.




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2013       Panel Member, Dean of Medicine Fund New Faculty Grant Clinical Science
           Panel. University of Toronto Faculty of Medicine, Canada.

2012       Board Member, International Review Board, Research collaborations on
           behavioural disorders related to violence, neglect, maltreatment and abuse in
           childhood and adolescence (2nd round). Bundesministerium für Bildung und
           Forschung [Ministry of Education and Research], Germany.

2012       External Reviewer, University of Ottawa Medical Research Fund. University of
           Ottawa Department of Psychiatry, Canada.

2012       External Reviewer, Behavioural Sciences—B. Canadian Institutes of Health
           Research, Canada.

2011       Board Member, International Review Board, Research collaborations on
           behavioural disorders related to violence, neglect, maltreatment and abuse in
           childhood and adolescence. Bundesministerium für Bildung und Forschung
           [Ministry of Education and Research], Germany.




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                               TEACHING AND TRAINING
PostDoctoral Research Supervision
Law & Mental Health Program, Centre for Addiction and Mental Health, Toronto, Canada
Dr. Katherine S. Sutton                                                  Sept., 2012–Dec., 2013
Dr. Rachel Fazio                                                         Sept., 2012–Aug., 2013
Dr. Amy Lykins                                                           Sept., 2008–Nov., 2009


Doctoral Research Supervision
Centre for Addiction and Mental Health, Toronto, Canada
Michael Walton • University of New England, Australia                    Sept., 2017–Aug., 2018
Debra Soh • York University                                               May, 2013–Aug, 2017
Skye Stephens • Ryerson University                                       April, 2012–June, 2016


Masters Research Supervision
Centre for Addiction and Mental Health, Toronto, Canada
Nicole Cormier • Ryerson University                                         June, 2012–present
Debra Soh • Ryerson University                                           May, 2009–April, 2010


Undergraduate Research Supervision
Centre for Addiction and Mental Health, Toronto, Canada
Kylie Reale • Ryerson University                                                   Spring, 2014
Jarrett Hannah • University of Rochester                                          Summer, 2013
Michael Humeniuk • University of Toronto                                          Summer, 2012


Clinical Supervision (Doctoral Internship)
Clinical Internship Program, Centre for Addiction and Mental Health, Toronto, Canada
Katherine S. Sutton • Queen’s University                                               2011–2012
David Sylva • Northwestern University                                                  2011–2012
Jordan Rullo • University of Utah                                                      2010–2011
Lea Thaler • University of Nevada, Las Vegas                                           2010–2011
Carolin Klein • University of British Columbia                                         2009–2010
Bobby R. Walling • University of Manitoba                                              2009–2010




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                                TEACHING AND TRAINING
Clinical Supervision (Doctoral- and Masters- level practica)
Centre for Addiction and Mental Health, Toronto, Canada
Tyler Tulloch • Ryerson University                                                   2013–2014
Natalie Stratton • Ryerson University                                              Summer, 2013
Fiona Dyshniku • University of Windsor                                             Summer, 2013
Mackenzie Becker • McMaster University                                             Summer, 2013
Skye Stephens • Ryerson University                                                   2012–2013
Vivian Nyantakyi • Capella University                                                2010–2011
Cailey Hartwick • University of Guelph                                                Fall, 2010
Tricia Teeft • Humber College                                                      Summer, 2010
Allison Reeves • Ontario Institute for Studies in Education/Univ. of Toronto         2009–2010
Helen Bailey • Ryerson University                                                  Summer, 2009
Edna Aryee • Ontario Institute for Studies in Education/Univ. of Toronto             2008–2009
Iryna Ivanova • Ontario Institute for Studies in Education/Univ. of Toronto          2008–2009
Jennifer Robinson • Ontario Institute for Studies in Education/Univ. of Toronto      2008–2009
Zoë Laksman • Adler School of Professional Psychology                                2005–2006
Diana Mandelew • Adler School of Professional Psychology                             2005–2006
Susan Wnuk • York University                                                         2004–2005
Hiten Lad • Adler School of Professional Psychology                                  2004–2005
Natasha Williams • Adler School of Professional Psychology                           2003–2004
Lisa Couperthwaite • Ontario Institute for Studies in Education/Univ. of Toronto     2003–2004
Lori Gray, née Robichaud • University of Windsor                                   Summer, 2003
Sandra Belfry • Ontario Institute for Studies in Education/Univ. of Toronto          2002–2003
Althea Monteiro • York University                                                  Summer, 2002
Samantha Dworsky • York University                                                   2001–2002
Kerry Collins • University of Windsor                                              Summer, 2001
Jennifer Fogarty • Waterloo University                                               2000–2001
Emily Cripps • Waterloo University                                                 Summer, 2000
Lee Beckstead • University of Utah                                                          2000




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                     PROFESSIONAL SOCIETY ACTIVITIES

OFFICES HELD
2018–2019    Local Host. Society for Sex Therapy and Research.
  2015       Member, International Scientific Committee, World Association for Sexual
              Health.
  2015       Member, Program Planning and Conference Committee, Association for the
              Treatment of Sexual Abusers
2012–2013    Chair, Student Research Awards Committee, Society for Sex Therapy & Research
2012–2013    Member, Program Planning and Conference Committee, Association for the
              Treatment of Sexual Abusers
2011–2012    Chair, Student Research Awards Committee, Society for Sex Therapy & Research
2010–2011    Scientific Program Committee, International Academy of Sex Research
2002–2004    Membership Committee • APA Division 12 (Clinical Psychology)
2002–2003    Chair, Committee on Science Issues, APA Division 44
  2002       Observer, Grant Review Committee • Canadian Institutes of Health Research
              Behavioural Sciences (B)
2001–2009    Reviewer • APA Division 44 Convention Program Committee
2001, 2002   Reviewer • APA Malyon-Smith Scholarship Committee
2000–2005    Task Force on Transgender Issues, APA Division 44
1998–1999    Consultant, APA Board of Directors Working Group on Psychology Marketplace
  1997       Student Representative • APA Board of Professional Affairs’ Institute on
              TeleHealth
1997–1998    Founder and Chair • APA/APAGS Task Force on New Psychologists’ Concerns
1997–1999    Student Representative • APA/CAPP Sub-Committee for a National Strategy for
              Prescription Privileges
1997–1999    Liaison • APA Committee for the Advancement of Professional Practice
1997–1998    Liaison • APA Board of Professional Affairs
1993–1997    Founder and Chair • APA/APAGS Committee on LGB Concerns




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                       PROFESSIONAL SOCIETY ACTIVITIES

MEMBERSHIPS
2017–2021     Member • Canadian Sex Research Forum
2009–Present Member • Society for Sex Therapy and Research
2006–Present Member (elected) • International Academy of Sex Research
2006–Present Research and Clinical Member • Association for the Treatment of Sex Abusers
2003–2006     Associate Member (elected) • International Academy of Sex Research
2002          Founding Member • CPA Section on Sexual Orientation and Gender Identity
2001–2013     Member • Canadian Psychological Association (CPA)
2000–2015     Member • American Association for the Advancement of Science
2000–2015     Member • American Psychological Association (APA)
                     APA Division 12 (Clinical Psychology)
                     APA Division 44 (Society for the Psychological Study of LGB Issues)
2000–2020     Member • Society for the Scientific Study of Sexuality
1995–2000     Student Member • Society for the Scientific Study of Sexuality
1993–2000     Student Affiliate • American Psychological Association
1990–1999     Member, American Psychological Association of Graduate Students (APAGS)




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                        CLINICAL LICENSURE/REGISTRATION

Certificate of Registration, Number 3793
College of Psychologists of Ontario, Ontario, Canada



                                 AWARDS AND HONORS

2017 Elected Fellow, Association for the Treatment of Sexual Abusers

2011 Howard E. Barbaree Award for Excellence in Research
Centre for Addiction and Mental Health, Law and Mental Health Program

2004 fMRI Visiting Fellowship Program at Massachusetts General Hospital
American Psychological Association Advanced Training Institute and NIH

1999–2001 CAMH Post-Doctoral Research Fellowship
Centre for Addiction and Mental Health Foundation and Ontario Ministry of Health

1998 Award for Distinguished Contribution by a Student
American Psychological Association, Division 44

1995 Dissertation Research Grant
Society for the Scientific Study of Sexuality

1994–1996 McGill University Doctoral Scholarship

1994 Award for Outstanding Contribution to Undergraduate Teaching
“TA of the Year Award,” from the McGill Psychology Undergraduate Student Association




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                                       MAJOR MEDIA
                             (Complete list available upon request.)

Feature-length Documentaries
Vice Canada Reports. Age of Consent. 14 Jan 2017.
Canadian Broadcasting Company. I, Pedophile. Firsthand documentaries. 10 Mar 2016.

Appearances and Interviews
11 Mar 2020. Ibbitson, John. It is crucial that Parliament gets the conversion-therapy ban right.
       The Globe & Mail.
25 Jan 2020. Ook de hulpvaardige buurman kan verzamelaar van kinderporno zin. De Morgen.
3 Nov 2019. Village of the damned. 60 Minutes Australia.
1 Nov 2019. HÅKON F. HØYDAL. Norsk nettovergriper: – Jeg hater meg selv: Nordmannen
       laster ned overgrepsmateriale fra nettet – og oppfordrer politiet til å gi amnesti for slike
       som ham.
10 Oct 2019. Smith, T. Growing efforts are looking at how—or if—#MeToo offenders can be
       reformed. National Public Radio.
29 Sep 2019. Carey, B. Preying on Children: The Emerging Psychology of Pedophiles. New
       York Times.
29 Apr 2019. Mathieu, Isabelle. La poupée qui a troublé les Terre-Neuviens. La Tribune.
21 Mar 2019. Pope Francis wants psychological testing to prevent problem priests. But can it
       really do that? The Washington Post.
12 Dec 2018. Child sex dolls: Illegal in Canada, and dozens seized at the border. Ontario Today
       with Rita Celli. CBC.
12 Dec 2018. Celli, R. & Harris, K. Dozens of child sex dolls seized by Canadian border agents.
       CBC News.
27 Apr 2018. Rogers, Brook A. The online ‘incel’ culture is real–and dangerous. New York Post.
25 Apr 2018. Yang, J. Number cited in cryptic Facebook post matches Alek Minassian’s military
       ID: Source. Toronto Star.
24 Ap 2018 Understanding ‘incel’. CTV News.
27 Nov 2017. Carey, B. Therapy for Sexual Misconduct? It’s Mostly Unproven. New York
       Times.
14 Nov 2017. Tremonti, A. M. The Current. CBC.
9 Nov2017. Christensen, J. Why men use masturbation to harass women. CNN.
       http://www.cnn.com/2017/11/09/health/masturbation-sexual-harassment/index.html
7 Nov 2017. Nazaryan, A. Why is the alt-right obsessed with pedophilia? Newsweek.
15 Oct 2017. Ouatik, B. Déscouvre. Pédophilie et science. CBC Radio Canada.
12 Oct 2017. Ouatik, B. Peut-on guérir la pédophilie? CBC Radio Canada.
11 Sep 2017. Burns, C. The young paedophiles who say they don’t abuse children. BBC News.
18 Aug 2017. Interview. National Post Radio. Sirius XM Canada.
16 Aug 2017. Blackwell, Tom. Man says he was cured of pedophilia at Ottawa clinic: ‘It’s like a
       weight that’s been lifted’: But skeptics worry about the impact of sending pedophiles into
       the world convinced their curse has been vanquished. National Post.
26 Apr 2017. Zalkind, S. Prep schools hid sex abuse just like the catholic church. VICE.
24 Apr 2017. Sastre, P. Pédophilie: une panique morale jamais n'abolira un crime. Slate France.
12 Feb 2017. Payette, G. Child sex doll trial opens Pandora’s box of questions. CBC News.
26 Nov 2016. Det morke uvettet [“The unknown darkness]”. Fedrelandsvennen.
13 July 2016. Paedophilia: Shedding light on the dark field. The Economist.


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1 Jul 2016. Debusschere, B. Niet iedereen die kinderporno kijkt, is een pedofiel: De mythes rond
        pedofilie ontkracht. De Morgen.
12 Apr 2016. O’Connor, R. Terence Martin: The Tasmanian MP whose medication 'turned him
        into a paedophile'. The Independent.
8 Mar 2016. Bielski, Z. ‘The most viscerally hated group on earth’: Documentary explores how
        intervention can stop pedophiles. The Globe and Mail.
1 Mar 2016. Elmhirst, S. What should we do about paedophiles? The Guardian.
24 Feb 2016. The man whose brain tumour ‘turned him into a paedophile’. The Independent.
24 Nov 2015. Byron, T. The truth about child sex abuse. BBC Two.
20 Aug 2015. The Jared Fogle case: Why we understand so little about abuse. Washington Post.
19 Aug 2015. Blackwell, T. Treat sex offenders for impotence—to keep them out of trouble,
        Canadian psychiatrist says. National Post.
2 Aug 2015. Menendez, J. BBC News Hour. BBC World Service.
13 Jul 2015. The nature of pedophilia. BBC Radio 4.
9 Jul 2015. The sex-offender test: How a computerized assessment can help determine the fate of
        men who’ve been accused of sexually abusing children. The Atlantic.
10 Apr 2015. NWT failed to prevent sex offender from abusing stepdaughter again. CBC News.
10 Feb 2015. Savage, D. “The ethical sadist.” In Savage Love. The Stranger.
31 Jan 2015. Begrip voor/van pedofilie [Understanding pedophilia]. de Volkskrant.
9 Dec 2014. Carey, B. When a rapist’s weapon is a pill. New York Times.
1 Dec 2014. Singal, J. Can virtual reality help pedophiles? New York Magazine.
17 Nov2014. Say pedófile, busco aydua. El Pais.
4 Sep 2014. Born that way? Ideas, with Paul Kennedy. CBC Radio One.
27 Aug 2014. Interrogating the statistics for the prevalence of paedophilia. BBC.
25 Jul 2014. Stephenson, W. The prevalence of paedophilia. BBC World Service.
21 Jul 2014. Hildebrandt, A. Virtuous Pedophiles group gives support therapy cannot. CBC.
26 Jan 2014. Paedophilia a result of faulty wiring, scientists suggest. Daily Mail.
22 Dec 2013. Kane, L. Is pedophilia a sexual orientation? Toronto Star.
21 Jul 2013. Miller, L. The turn-on switch: Fetish theory, post-Freud. New York Magazine.
1 Jul 2013. Morin, H. Pédophilie: la difficile quête d'une origine biologique. Le Monde.
2 Jun 2013. Malcolm, L. The psychology of paedophilia. Australian National Radio.
1 Mar 2013. Kay, J. The mobbing of Tom Flanagan is unwarranted and cruel. National Post.
6 Feb 2013. Boy Scouts board delays vote on lifting ban on gays. L.A. Times.
31 Aug 2012. CNN Newsroom interview with Ashleigh Banfield. CNN.
24 Jun 2012. CNN Newsroom interview with Don Lemon. CNN.




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                      LEGAL TESTIMONY, PAST 5 YEARS

2022 Hersom & Doe v WVa Health & Human Services        Southern District, West Virginia
2022 BPJ v WVa Board of Education                      Southern District, West Virginia
2021 Cross et al. v Loudoun School Board               Loudoun, Virginia
2021 Allan M. Josephson v Neeli Bendapudi              Western District of Kentucky
2021 Re Commitment of Michael Hughes (Frye Hearing)    Cook County, Illinois
2019 US vs Peter Bright                                Southern Dist. of New York, NY
2019 Probate and Family Court (Custody Hearing)        Boston, Massachusetts
2019 Re Commitment of Steven Casper (Frye Hearing)     Kendall County, Illinois
2019 Re Commitment of Inger (Frye Hearing)             Poughkeepsie, New York
2018 Re Commitment of Fernando Little (Frye Hearing)   Utica, New York
2018 Canada vs John Fitzpatrick (Sentencing Hearing)   Toronto, Ontario, Canada




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Transgender and Gender Diverse Children and
Adolescents: Fact-Checking of AAP Policy

James M. Cantor

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  2020, VOL. 46, NO. 4, 307–313
  https://doi.org/10.1080/0092623X.2019.1698481




  Transgender and Gender Diverse Children and Adolescents:
  Fact-Checking of AAP Policy
  James M. Cantor
  Toronto Sexuality Centre, Toronto, Canada


      ABSTRACT
      The American Academy of Pediatrics (AAP) recently published a policy
      statement: Ensuring comprehensive care and support for transgender and
      gender-diverse children and adolescents. Although almost all clinics and pro-
      fessional associations in the world use what’s called the watchful waiting
      approach to helping gender diverse (GD) children, the AAP statement
      instead rejected that consensus, endorsing gender affirmation as the only
      acceptable approach. Remarkably, not only did the AAP statement fail to
      include any of the actual outcomes literature on such cases, but it also
      misrepresented the contents of its citations, which repeatedly said the very
      opposite of what AAP attributed to them.



  The American Academy of Pediatrics (AAP) recently published a policy statement entitled,
  Ensuring comprehensive care and support for transgender and gender-diverse children and adoles-
  cents (Rafferty, AAP Committee on Psychosocial Aspects of Child and Family Health, AAP
  Committee on Adolescence, AAP Section on Lesbian, Gay, Bisexual, and Transgender Health and
  Wellness, 2018). These are children who manifest discontent with the sex they were born as and
  desire to live as the other sex (or as some alternative gender role). The policy was quite a remark-
  able document: Although almost all clinics and professional associations in the world use what’s
  called the watchful waiting approach to helping transgender and gender diverse (GD) children,
  the AAP statement rejected that consensus, endorsing only gender affirmation. That is, where the
  consensus is to delay any transitions after the onset of puberty, AAP instead rejected waiting
  before transition. With AAP taking such a dramatic departure from other professional associa-
  tions, I was immediately curious about what evidence led them to that conclusion. As I read the
  works on which they based their policy, however, I was pretty surprised—rather alarmed, actually:
  These documents simply did not say what AAP claimed they did. In fact, the references that
  AAP cited as the basis of their policy instead outright contradicted that policy, repeatedly endors-
  ing watchful waiting.
      The AAP statement was also remarkable in what it left out—namely, the actual outcomes
  research on GD children. In total, there have been 11 follow-up studies of GD children, of which
  AAP cited one (Wallien & Cohen-Kettenis, 2008), doing so without actually mentioning the out-
  come data it contained. The literature on outcomes was neither reviewed, summarized, nor sub-
  jected to meta-analysis to be considered in the aggregate—It was merely disappeared. (The list of
  all existing studies appears in the appendix.) As they make clear, every follow-up study of GD
  children, without exception, found the same thing: Over puberty, the majority of GD children
  cease to want to transition. AAP is, of course, free to establish whatever policy it likes on


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  Ontario M5B 1J3, Canada.
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  whatever basis it likes. But any assertion that their policy is based on evidence is demonstrably
  false, as detailed below.
      AAP divided clinical approaches into three types—conversion therapy, watchful waiting,
  and gender affirmation. It rejected the first two and endorsed gender affirmation as the only
  acceptable alternative. Most readers will likely be familiar already with attempts to use conver-
  sion therapy to change sexual orientation. With regard to gender identity, AAP wrote:
        “[C]onversion” or “reparative” treatment models are used to prevent children and adolescents from
        identifying as transgender or to dissuade them from exhibiting gender-diverse expressions. … Reparative
        approaches have been proven to be not only unsuccessful38 but also deleterious and are considered outside
        the mainstream of traditional medical practice.29,39–42

  The citations were:
        38. Haldeman DC. The practice and ethics of sexual orientation conversion therapy. J Consult Clin Psychol.
            1994;62(2):221–227.
        29. Adelson SL; American Academy of Child and Adolescent Psychiatry (AACAP) Committee on Quality
            Issues (CQI). Practice parameter on gay, lesbian, or bisexual sexual orientation, gender nonconformity,
            and gender discordance in children and adolescents. J Am Acad Child Adolesc Psychiatry.
            2012;51(9):957–974.
        39. Byne W. Regulations restrict practice of conversion therapy. LGBT Health. 2016;3(2):97–99.
        40. Cohen-Kettenis PT, Delemarrevan de Waal HA, Gooren LJ. The treatment of adolescent transsexuals:
            changing insights. J Sex Med. 2008;5(8):1892–1897.
        41. Bryant K. Making gender identity disorder of childhood: historical lessons for contemporary debates.
            Sex Res Soc Policy. 2006;3(3):23–39.
        42. World Professional Association for Transgender Health. WPATH De-Psychopathologisation Statement.
            Minneapolis, MN: World Professional Association for Transgender Health; 2010.

      AAP’s claims struck me as odd because there are no studies of conversion therapy for gender
  identity. Studies of conversion therapy have been limited to sexual orientation, and, moreover, to
  the sexual orientation of adults, not to gender identity and not of children in any case. The article
  AAP cited to support their claim (reference number 38) is indeed a classic and well-known
  review, but it is a review of sexual orientation research only. Neither gender identity, nor even
  children, received a single mention in it. Indeed, the narrower scope of that article should be
  clear to anyone reading even just its title: “The practice and ethics of sexual orientation conver-
  sion therapy” [italics added].
      AAP continued, saying that conversion approaches for GD children have already been rejected
  by medical consensus, citing five sources. This claim struck me as just as odd, however—I
  recalled associations banning conversion therapy for sexual orientation, but not for gender iden-
  tity, exactly because there is no evidence for generalizing from adult sexual orientation to child-
  hood gender identity. So, I started checking AAP’s citations for that, and these sources too
  pertained only to sexual orientation, not gender identity (specifics below). What AAP’s sources
  did repeatedly emphasize was that:

    A.       Sexual orientation of adults is unaffected by conversion therapy and any other [known]
             intervention;
    B.       Gender dysphoria in childhood before puberty desists in the majority of cases, becoming
             (cis-gendered) homosexuality in adulthood, again regardless of any [known] intervention; and
    C.       Gender dysphoria in childhood persisting after puberty tends to persist entirely.

     That is, in the context of GD children, it simply makes no sense to refer to externally induced
  “conversion”: The majority of children “convert” to cisgender or “desist” from transgender
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  regardless of any attempt to change them. “Conversion” only makes sense with regard to adult
  sexual orientation because (unlike childhood gender identity), adult homosexuality never or
  nearly never spontaneously changes to heterosexuality. Although gender identity and sexual
  orientation may often be analogous and discussed together with regard to social or political val-
  ues and to civil rights, they are nonetheless distinct—with distinct origins, needs, and responses
  to medical and mental health care choices. Although AAP emphasized to the reader that “gender
  identity is not synonymous with ‘sexual orientation’” (Rafferty et al., 2018, p. 3), they went ahead
  to treat them as such nonetheless.
      To return to checking AAP’s fidelity to its sources: Reference 29 was a practice guideline
  from the Committee on Quality Issues of the American Academy of Child and Adolescent
  Psychiatry (AACAP). Despite AAP applying this source to gender identity, AACAP was quite
  unambiguous regarding their intent to speak to sexual orientation and only to sexual orienta-
  tion: “Principle 6. Clinicians should be aware that there is no evidence that sexual orientation
  can be altered through therapy, and that attempts to do so may be harmful. There is no estab-
  lished evidence that change in a predominant, enduring homosexual pattern of development is
  possible. Although sexual fantasies can, to some degree, be suppressed or repressed by those
  who are ashamed of or in conflict about them, sexual desire is not a choice. However, behav-
  ior, social role, and—to a degree—identity and self-acceptance are. Although operant condi-
  tioning modifies sexual fetishes, it does not alter homosexuality. Psychiatric efforts to alter
  sexual orientation through ‘reparative therapy’ in adults have found little or no change in sex-
  ual orientation, while causing significant risk of harm to self-esteem” (AACAP, 2012, p. 967,
  italics added).
      Whereas AAP cites AACAP to support gender affirmation as the only alternative for treat-
  ing GD children, AACAP’s actual view was decidedly neutral, noting the lack of evidence:
  “Given the lack of empirical evidence from randomized, controlled trials of the efficacy of
  treatment aimed at eliminating gender discordance, the potential risks of treatment, and longi-
  tudinal evidence that gender discordance persists in only a small minority of untreated cases
  arising in childhood, further research is needed on predictors of persistence and desistence of
  childhood gender discordance as well as the long-term risks and benefits of intervention before
  any treatment to eliminate gender discordance can be endorsed” (AACAP, 2012, p. 969).
  Moreover, whereas AAP rejected watchful waiting, what AACAP recommended was: “In gen-
  eral, it is desirable to help adolescents who may be experiencing gender distress and dysphoria
  to defer sex reassignment until adulthood” (AACAP, 2012, p. 969). So, not only did AAP attri-
  bute to AACAP something AACAP never said, but also AAP withheld from readers AACAP’s
  actual view.
      Next, in reference 39, Byne (2016) also addressed only sexual orientation, doing so very clearly:
  “Reparative therapy is a subset of conversion therapies based on the premise that same-sex attrac-
  tion are reparations for childhood trauma. Thus, practitioners of reparative therapy believe that
  exploring, isolating, and repairing these childhood emotional wounds will often result in reducing
  same-sex attractions” (Byne, 2016, p. 97). Byne does not say this of gender identity, as the AAP
  statement misrepresents.
      In AAP reference 40, Cohen-Kettenis et al. (2008) did finally pertain to gender identity; how-
  ever, this article never mentions conversion therapy. (!) Rather, in this study, the authors pre-
  sented that clinic’s lowering of their minimum age for cross-sex hormone treatment from age 18
  to 16, which they did on the basis of a series of studies showing the high rates of success with
  this age group. Although it did strike me as odd that AAP picked as support against conversion
  therapy an article that did not mention conversion therapy, I could imagine AAP cited the article
  as an example of what the “mainstream of traditional medical practice” consists of (the logic
  being that conversion therapy falls outside what an ‘ideal’ clinic like this one provides). However,
  what this clinic provides is the very watchful waiting approach that AAP rejected. The approach
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  espoused by Cohen-Kettenis (and the other clinics mentioned in the source—Gent, Boston, Oslo,
  and now formerly, Toronto) is to make puberty-halting interventions available at age 12 because:
  “[P]ubertal suppression may give adolescents, together with the attending health professional,
  more time to explore their gender identity, without the distress of the developing secondary sex
  characteristics. The precision of the diagnosis may thus be improved” (Cohen-Kettenis et al.,
  2008, p. 1894).
     Reference 41 presented a very interesting history spanning the 1960s–1990s about how
  feminine boys and tomboyish girls came to be recognized as mostly pre-homosexual, and
  how that status came to be entered into the DSM at the same time as homosexuality was
  being removed from the DSM. Conversion therapy is never mentioned. Indeed, to the extent
  that Bryant mentions treatment at all, it is to say that treatment is entirely irrelevant to his
  analysis: “An important omission from the DSM is a discussion of the kinds of treatment
  that GIDC children should receive. (This omission is a general orientation of the DSM and
  not unique to GIDC)” (Bryant, 2006, p. 35). How this article supports AAP’s claim is a mys-
  tery. Moreover, how AAP could cite a 2006 history discussing events of the 1990s and earlier
  to support a claim about the current consensus in this quickly evolving discussion remains all
  the more unfathomable.
     Cited last in this section was a one-paragraph press release from the World Professional
  Association for Transgender Health. Written during the early stages of the American Psychiatric
  Association’s (APA’s) update of the DSM, the statement asserted simply that “The WPATH
  Board of Directors strongly urges the de-psychopathologisation of gender variance worldwide.”
  Very reasonable debate can (and should) be had regarding whether gender dysphoria should be
  removed from the DSM as homosexuality was, and WPATH was well within its purview to assert
  that it should. Now that the DSM revision process is years completed however, history has seen
  that APA ultimately retained the diagnostic categories, rejecting WPATH’s urging. This makes
  AAP’s logic entirely backwards: That WPATH’s request to depathologize gender dysphoria was
  rejected suggests that it is WPATH’s view—and therefore the AAP policy—which fall “outside the
  mainstream of traditional medical practice.” (!)
     AAP based this entire line of reasoning on their belief that conversion therapy is being used
  “to prevent children and adolescents from identifying as transgender” (Rafferty et al., 2018, p. 4).
  That claim is left without citation or support. In contrast, what is said by AAP’s sources is
  “delaying affirmation should not be construed as conversion therapy or an attempt to change
  gender identity” in the first place (Byne, 2016, p. 2). Nonetheless, AAP seems to be doing exactly
  that: simply relabeling any alternative approach as equivalent to conversion therapy.
     Although AAP (and anyone else) may reject (what they label to be) conversion therapy purely
  on the basis of political or personal values, there is no evidence to back the AAP’s stated claim
  about the existing science on gender identity at all, never mind gender identity of children.
     AAP also dismissed the watchful waiting approach out of hand, not citing any evidence, but
  repeatedly calling it “outdated.” The criticisms AAP provided, however, again defied the existing
  evidence, with even its own sources repeatedly calling watchful waiting the current standard.
  According to AAP:
        [G]ender affirmation is in contrast to the outdated approach in which a child’s gender-diverse assertions are
        held as “possibly true” until an arbitrary age (often after pubertal onset) when they can be considered valid,
        an approach that authors of the literature have termed “watchful waiting.” This outdated approach does not
        serve the child because critical support is withheld. Watchful waiting is based on binary notions of gender
        in which gender diversity and fluidity is pathologized; in watchful waiting, it is also assumed that notions of
        gender identity become fixed at a certain age. The approach is also influenced by a group of early studies
        with validity concerns, methodologic flaws, and limited follow-up on children who identified as TGD and,
        by adolescence, did not seek further treatment (“desisters”).45,47

  The citations from AAP’s reference list are:
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     45. Ehrensaft D, Giammattei SV, Storck K, Tishelman AC, Keo-Meier C. Prepubertal social gender
         transitions: what we know; what we can learn—a view from a gender affirmative lens. Int J Transgend.
         2018;19(2):251–268
     47. Olson KR. Prepubescent transgender children: what we do and do not know. J Am Acad Child Adolesc
         Psychiatry. 2016;55(3):155–156.e3

      I was surprised first by the AAP’s claim that watchful waiting’s delay to puberty was somehow
  “arbitrary.” The literature, including AAP’s sources, repeatedly indicated the pivotal importance
  of puberty, noting that outcomes strongly diverge at that point. According to AAP reference 29,
  in “prepubertal boys with gender discordance—including many without any mental health treat-
  ment—the cross gender wishes usually fade over time and do not persist into adulthood, with
  only 2.2% to 11.9% continuing to experience gender discordance” (Adelson & AACAP, 2012, p.
  963, italics added), whereas “when gender variance with the desire to be the other sex is present
  in adolescence, this desire usually does persist through adulthood” (Adelson & AACAP, 2012, p.
  964, italics added). Similarly, according to AAP reference 40, “Symptoms of GID at prepubertal
  ages decrease or even disappear in a considerable percentage of children (estimates range from
  80–95%). Therefore, any intervention in childhood would seem premature and inappropriate.
  However, GID persisting into early puberty appears to be highly persistent” (Cohen-Kettenis
  et al., 2008, p. 1895, italics added). That follow-up studies of prepubertal transition differ from
  postpubertal transition is the very meaning of non-arbitrary. AAP gave readers exactly the reverse
  of what was contained in its own sources. If AAP were correct in saying that puberty is an arbi-
  trarily selected age, then AAP will be able to offer another point to wait for with as much empir-
  ical backing as puberty has.
      Next, it was not clear on what basis AAP could say that watchful waiting withholds support—
  AAP cited no support for its claim. The people in such programs often receive substantial sup-
  port during this period. Also unclear is on what basis AAP could already know exactly which
  treatments are “critical” and which are not—Answering that question is the very purpose of this
  entire endeavor. Indeed, the logic of AAP’s claim appears entirely circular: It is only if one were
  already pre-convinced that gender affirmation is the only acceptable alternative that would make
  watchful waiting seem to withhold critical support—What it delays is gender affirmation, the
  method one has already decided to be critical.
      Although AAP’s next claim did not have a citation appearing at the end of its sentence, binary
  notions of gender were mentioned both in references 45 and 47. Specifically, both pointed out
  that existing outcome studies have been about people transitioning from one sex to the other,
  rather than from one sex to an in-between status or a combination of masculine/feminine fea-
  tures. Neither reference presented this as a reason to reject the results from the existing studies of
  complete transition however (which is how AAP cast it). Although it is indeed true that the out-
  come data have been about complete transition, some future study showing that partial transition
  shows a different outcome would not invalidate what is known about complete transition.
  Indeed, data showing that partial transition gives better outcomes than complete transition would,
  once again, support the watchful waiting approach which AAP rejected.
      Next was a vague reference alleging concerns and criticisms about early studies. Had AAP
  indicated what those alleged concerns and flaws were (or which studies they were), then it would
  be possible to evaluate or address them. Nonetheless, the argument is a red herring: Because all
  of the later studies showed the same result as did the early studies, any such allegation is neces-
  sarily moot.
      Reference 47 was a one-and-a-half page commentary in which the author off-handedly men-
  tions criticisms previously made of three of the eleven outcome studies of GD children, but does
  not provide any analysis or discussion. The only specific claim was that studies (whether early or
  late) had limited follow-up periods—the logic being that had outcome researchers lengthened the
  follow-up period, then people who seemed to have desisted might have returned to the clinic as
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  cases of “persistence-after-interruption.” Although one could debate the merits of that prediction,
  AAP instead simply withheld from the reader the result from the original researchers having
  tested that very prediction directly: Steensma and Cohen-Kettenis (2015) conducted another ana-
  lysis of their cohort, by then ages 19–28 (mean age 25.9 years), and found that 3.3% (5 people of
  the sample of 150) later returned. That is, in long-term follow-up, the childhood sample showed
  66.7% desistence instead of 70.0% desistance.
      Reference 45 did not support the claim that watchful-waiting is “outdated” either. Indeed,
  that source said the very opposite, explicitly referring to watchful waiting as the current
  approach: “Put another way, if clinicians are straying from SOC 7 guidelines for social transi-
  tions, not abiding by the watchful waiting model favored by the standards, we will have adoles-
  cents who have been consistently living in their affirmed gender since age 3, 4, or 5” (Ehrensaft
  et al., 2018, p. 255). Moreover, Ehrensaft et al. said there are cases in which they too would still
  use watchful waiting: “When a child’s gender identity is unclear, the watchful waiting approach
  can give the child and their family time to develop a clearer understanding and is not necessar-
  ily in contrast to the needs of the child” (p. 259). Ehrensaft et al. are indeed critical of the
  watchful waiting model (which they feel is applied too conservatively), but they do not come
  close to the position the AAP policy espouses. Where Ehrensaft summaries the potential bene-
  fits and potential risks both to transitioning and not transitioning, the AAP presents an ironic-
  ally binary narrative.
      In its policy statement, AAP told neither the truth nor the whole truth, committing sins both
  of commission and of omission, asserting claims easily falsified by anyone caring to do any fact-
  checking at all. AAP claimed, “This policy statement is focused specifically on children and youth
  that identify as TGD rather than the larger LGBTQ population”; however, much of that evidence
  was about sexual orientation, not gender identity. AAP claimed, “Current available research and
  expert opinion from clinical and research leaders … will serve as the basis for recommendations”
  (pp. 1–2); however, they provided recommendations entirely unsupported and even in direct
  opposition to that research and opinion.
      AAP is advocating for something far in excess of mainstream practice and medical consensus.
  In the presence of compelling evidence, that is just what is called for. The problems with
  Rafferty, however, do not constitute merely a misquote, a misinterpretation of an ambiguous
  statement, or a missing reference or two. Rather, AAP’s statement is a systematic exclusion and
  misrepresentation of entire literatures. Not only did AAP fail to provide compelling evidence, it
  failed to provide the evidence at all. Indeed, AAP’s recommendations are despite the exist-
  ing evidence.


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  Appendix



  Count             Group                                                            Study
     2/16    gay                   Lebovitz, P. S. (1972). Feminine behavior in boys: Aspects of its outcome.
     4/16    trans-/crossdress        American Journal of Psychiatry, 128, 1283–1289.
    10/16    straight/uncertain
     2/16    trans-                 Zuger, B. (1978). Effeminate behavior present in boys from childhood:
     2/16    uncertain                Ten additional years of follow-up. Comprehensive Psychiatry, 19, 363–369.
    12/16    gay
       0/9   trans-                 Money, J., & Russo, A. J. (1979). Homosexual outcome of discordant
       9/9   gay                      gender identity/role: Longitudinal follow-up. Journal of Pediatric Psychology, 4, 29–41.
     2/45    trans-/crossdress      Zuger, B. (1984). Early effeminate behavior in boys: Outcome and
    10/45    uncertain                significance for homosexuality. Journal of Nervous and Mental Disease, 172, 90–97.
    33/45    gay
     1/10    trans-                 Davenport, C. W. (1986). A follow-up study of 10 feminine boys. Archives of
     2/10    gay                      Sexual Behavior, 15, 511–517.
     3/10    uncertain
     4/10    straight
     1/44    trans-                 Green, R. (1987). The "sissy boy syndrome" and the development of homosexuality.
    43/44    cis-                      New Haven, CT: Yale University Press.
       0/8   trans-                 Kosky, R. J. (1987). Gender-disordered children: Does inpatient treatment help?
       8/8   cis-                     Medical Journal of Australia, 146, 565–569.
    21/54    trans-                 Wallien, M. S. C., & Cohen-Kettenis, P. T. (2008). Psychosexual outcome of gender-dysphoric
    33/54    cis-                     children. Journal of the American Academy of Child and Adolescent Psychiatry, 47,
                                      1413–1423.
     3/25    trans-                 Drummond, K. D., Bradley, S. J., Badali-Peterson, M., & Zucker, K. J. (2008). A follow-up study
     6/25    lesbian/bi-              of girls with gender identity disorder. Developmental Psychology, 44, 34–45.
    16/25    straight
   17/139    trans-                 Singh, D. (2012). A follow-up study of boys with gender identity disorder. Unpublished doctoral
  122/139    cis-                      dissertation, University of Toronto.
   47/127    trans-                 Steensma, T. D., McGuire, J. K., Kreukels, B. P. C., Beekman, A. J., & Cohen-Kettenis, P. T. (2013).
   80/127    cis-                      Factors associated with desistence and persistence of childhood gender dysphoria:
                                       A quantitative follow-up study. Journal of the American Academy of Child and Adolescent
                                       Psychiatry, 52, 582–590.
  For brevity, the list uses “gay” for “gay and cis-”, “straight” for “straight and cis-”, etc.
